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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 NATIONAL VETERANS LEGAL
 SERVICES PROGRAM, et al.,

                Plaintiffs,

         v.                                            Civil Action No. 16-745 ESH

 UNITED STATES OF AMERICA,

                Defendant.


                                     NOTICE OF FILING

        In accordance with the Court’s March 5, 2018 email instruction, Defendant hereby

provides notice to the Court and Plaintiffs of the filing of the attached documents (and

authenticating declaration) that address the Court’s five questions, as reflected below:

1.    The Taylor Decl. Ex. L sets forth [ ] how PACER fees were spent from 2010-
2016. How were PACER fees spent for the 10 years before that? If there are any
documents which provide this information in the same manner as Exhibit L, please file
them with the Court.

       RESPONSE: See Tabs 30, 31, 32, 33, 34, 35, 36.

2.   Were there “Congressional priorities” prior to 2010? If so, what were they? How
much was spent each year?

        RESPONSE: The "Congressional Priorities" label was first used in 2007 under the

"Resources Available for S&E Utilization" label. Prior to 2007, this line was titled "S&E

Utilization" under the "Resources Available for S&E Utilization" label. See Tabs 30 - 36,

reflecting:

2000 total was $10,018,792 (Tab 30 Subtotal-Expanded Services)
2001 total was $19,705,652 (Tab 31 Subtotal-Expanded Services)
2002 total was $11,489,928 (Tab 32 Subtotal-Expanded Services)
2003 total was $17,526,439 (Tab 33 line 39-Subtotal, S&E Util.)
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2004 total was $23,813,663 (Tab 33 line 39-Subtotal, S&E Util.)
2005 total was $31,828,090 (Tab 33 line 39-Subtotal, S&E Util.)
2006 total was $32,916,235 (Tab 34 Subtotal, S&E Util.)
2007 total was $37,332,930 (Tab 35 Subtotal, Congressional Priorities)
2008 total was $57,670,579 (Tab 35 Subtotal, Congressional Priorities)
2009 total was $25,122,664 (Tab 36 line 51-Total Congressional Priorities)

3.    Identify any evidence of Congressional directives, mandates, or approvals for any
item designated as a Congressional priority after 2002 (other than the House and Senate
Committee approvals of the 2007 Financial Plan, see Skidgel Decl. Exs. L & M)?

       RESPONSE: Tabs 1 - 8 contain sections of the Judiciary’s budget requests to Congress

relating to the Judiciary’s Electronic Public Access Program for fiscal years 2002 - 2009.

       Tabs 9 – 13 contain sections of the Judiciary’s spending plans submitted to Congress

relating to the Judiciary’s Electronic Public Access Program for fiscal years 2006 -2009 and

fiscal year 2012.

       Tabs 14 – 29 contain letters and emails from Congress approving the Judiciary’s

submitted spending plans. 1

       Tab 37 contains a compilation of expenditures that appeared under the heading

“Congressional Priorities”, the year the expenditure was listed under that heading, and the

Congressional directive/approval associated with that expenditure.


4.     Where can the Court find a copy of S. Rep. No. 109-293, at 176 (cited in response to
Pls’ Facts ¶ 36 for the proposition that “Congress did ‘urge[] the judiciary to undertake a
study of whether sharing such technology, including electronic billing processes, is a viable
option.’”)?

RESPONSE: A copy is available from the Government Publishing Office (“GPO”) Federal

Digital System

at https://www.gpo.gov/fdsys/search/citation2.result.CRPT.action?congressionalReports.doctyp


       1
         Information identifying individual staff members was redacted from the documents
found at Tabs 16-17 and 20-28.

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e=SRPT&congressionalReports.congressnum=109&congressionalReports.docnumber=293&pub

lication=CRPT&action%3Acitation2.result.CRPT=Retrieve+Document


       A copy of the sections pertaining to the Federal Judiciary is attached at Tab 38.

5.     Where can the Court find copies of the documents cited in Def.’s Resp. to Pls.’ Facts
¶ 23 (“Defendant’s 2012 spending plan, and Plaintiff’s 2012 House and Senate
Appropriations Reports”)?

       RESPONSE: Tab 13 contains the section of the Judiciary’s spending plan submitted to

Congress relating to the Judiciary’s Electronic Public Access Program for fiscal year 2012.

A copy of 2012 House Appropriations Report is available from the GPO's Federal Digital

System at

https://www.gpo.gov/fdsys/search/citation2.result.CRPT.action?congressionalReports.doctype=
HRPT&congressionalReports.congressnum=112&congressionalReports.docnumber=136&publi
cation=CRPT&action%3Acitation2.result.CRPT=Retrieve+Document

       A copy of the sections pertaining to the Federal Judiciary is attached at Tab 39.




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       A copy of 2012 Senate Appropriations Report is available from the GPO's Federal Digital

System at

https://www.gpo.gov/fdsys/search/citation2.result.CRPT.action?congressionalReports.doctype=S
RPT&congressionalReports.congressnum=112&congressionalReports.docnumber=79&publicati
on=CRPT&action%3Acitation2.result.CRPT=Retrieve+Document

       A copy of the sections pertaining to the Federal Judiciary is attached at Tab 40.


                                       Respectfully submitted,


                                       JESSIE K. LIU, DC Bar #472845
                                       United States Attorney


                                       DANIEL F. VAN HORN, DC Bar #924092
                                       Chief, Civil Division


                                 By:                                    /s/
                                       W. MARK NEBEKER, DC Bar #396739
                                       Assistant United States Attorney
                                       555 4th Street, N.W.
                                       Washington, DC 20530
                                       (202) 252-2536
                                       mark.nebeker@usdoj.gov




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                                 CERTIFICATE OF SERVICE

       I hereby certify that service of the foregoing Notice of Filing and attachments has been

made through the Court’s electronic transmission facilities on this 15th day of March, 2018.



                                                                                       /s/
                                             W. MARK NEBEKER
                                             Assistant United States Attorney
                                             555 Fourth Street, N.W.
                                             Washington, D.C. 20530
                                             (202) 252-2536
                                             mark.nebeker@usdoj.gov
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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA




                                                    Case No. 16-745-ESH




                    DECLARATION OF Wendell A. Skidgel Jr.

I, Wendell A. Skidgel Jr., declare as follows:

        1.      I have Bachelor’s Degrees in Mathematics and Computer Science from

Eastern Nazarene College and a Juris Doctorate with a concentration in Intellectual

Property from Boston University School of Law. In addition to serving as an attorney at

the Administrative Office of the United States Courts for the past eleven years, I

served as the Systems Manager at a Federal Appellate Court for more than five years

and served as an IT Director at a Federal Bankruptcy Court for six years. Based on

my personal experiences and knowledge gained through my official duties, I make the

following declarations.

Budget Requests to Congress

        2.      Tab 1 is a true and correct copy of the portion of the Judiciary’s budget

request to Congress relating to the Judiciary’s Electronic Public Access Program for

fiscal year 2002.

        3.      Tab 2 is a true and correct copy of the portion of the Judiciary’s budget

request to Congress relating to the Judiciary’s Electronic Public Access Program for

fiscal year 2003.
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       4.      Tab 3 is a true and correct copy of the portion of the Judiciary’s budget

request to Congress relating to the Judiciary’s Electronic Public Access Program for

fiscal year 2004.

       5.      Tab 4 is a true and correct copy of the portion of the Judiciary’s budget

request to Congress relating to the Judiciary’s Electronic Public Access Program for

fiscal year 2005.

       6.      Tab 5 is a true and correct copy of the portion of the Judiciary’s budget

request to Congress relating to the Judiciary’s Electronic Public Access Program for

fiscal year 2006.

       7.      Tab 6 is a true and correct copy of the portion of the Judiciary’s budget

request to Congress relating to the Judiciary’s Electronic Public Access Program for

fiscal year 2007.

       8.      Tab 7 is a true and correct copy of the portion of the Judiciary’s budget

request to Congress relating to the Judiciary’s Electronic Public Access Program for

fiscal year 2008.

       9.      Tab 8 is a true and correct copy of the portion of the Judiciary’s budget

request to Congress relating to the Judiciary’s Electronic Public Access Program for

fiscal year 2009.

Spending Plans Submitted to Congress

       10.     Tab 9 is a true and correct copy of the portion of the spending plan

submitted to Congress that relates to the Judiciary’s Electronic Public Access Program

for fiscal year 2006.

       11.     Tab 10 is a true and correct copy of the portion of the spending plan

submitted to Congress that relates to the Judiciary’s Electronic Public Access Program

for fiscal year 2007.

       12.     Tab 11 is a true and correct copy of the portion of the spending plan
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submitted to Congress that relates to the Judiciary’s Electronic Public Access Program

for fiscal year 2008.

       13.     Tab 12 is a true and correct copy of the portion of the spending plan

submitted to Congress that relates to the Judiciary’s Electronic Public Access Program

for fiscal year 2009.

       14.     Tab 13 is a true and correct copy of the portion of the spending plan

submitted to Congress that relates to the Judiciary’s Electronic Public Access Program

for fiscal year 2012.

Congressional Approval of Spending Plans

       15.     Tab 14 is a true and correct copy of a letter from Senator Richard J.

Durbin and Senator Susan M. Collins approving, on behalf of the Senate Committee on

Appropriations, the Judiciary’s Fiscal year 2009 spending plan. (July 13, 2009).

       16.     Tab 15 is a true and correct copy of a letter from Senator Richard J.

Durbin and Senator Susan M. Collins approving, on behalf of the Senate Committee on

Appropriations, the Judiciary’s Fiscal year 2010 spending plan. (March 26, 2010).

       17.     Tab 16 is a true and correct redacted-copy of an email approving, on

behalf of the House Committee on Appropriations, the Judiciary’s Fiscal year 2011

spending plan. (07/11/2011 at 12:35 PM).

       18.     Tab 17 is a true and correct redacted-copy of an email describing verbal

approval, on behalf of the Senate Committee on Appropriations, of the Judiciary’s Fiscal

year 2011 spending plan. (8/11/2011 at 2:34 PM).

       19.     Tab 18 is a true and correct copy of a letter from Congresswoman Jo Ann

Emerson approving, on behalf of the House Committee on Appropriations, the Judiciary’s

Fiscal year 2012 spending plan. (March 12, 2012).

       20.     Tab 19 is a true and correct copy of a letter from Senator Richard J.

Durbin approving, on behalf of the Senate Committee on Appropriations, the Judiciary’s

Fiscal year 2012 spending plan. (April 16, 2012).
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     21.    Tab 20 is a true and correct redacted-copy of an email approving, on

behalf of the Senate Committee on Appropriations, the Judiciary’s Fiscal year 2013

spending plan. (07/31/2013 at 1:47 PM).

       22.     Tab 21 is a true and correct redacted-copy of an email approving, on

behalf of the House Committee on Appropriations, the Judiciary’s Fiscal year 2013

spending plan. (06/12/2013 at 3:56 PM).

       23.     Tab 22 is a true and correct redacted-copy of an email approving, on

behalf of the Senate Committee on Appropriations, the Judiciary’s Fiscal year 2014

spending plan. (04/25/2014 at 12:07 PM).

       24.     Tab 23 is a true and correct redacted-copy of an email approving, on

behalf of the House Committee on Appropriations, the Judiciary’s Fiscal year 2014

spending plan. (04/08/2014 at 4:56 PM).

       25.     Tab 24 is a true and correct redacted-copy of an email approving, on

behalf of the Senate Committee on Appropriations, the Judiciary’s Fiscal year 2015

spending plan. (03/17/2015 at 11:25 AM).

       26.     Tab 25 is a true and correct redacted-copy of an email approving, on

behalf of the House Committee on Appropriations, the Judiciary’s Fiscal year 2015

spending plan. (03/16/2015 at 5:04 PM).

       27.     Tab 26 is a true and correct redacted-copy of an email approving, on

behalf of the Senate Committee on Appropriations, the Judiciary’s Fiscal year 2016

spending plan. (05/09/2016 at 11:52 AM).

       28.     Tab 27 is a true and correct redacted-copy of an email approving, on

behalf of the House Committee on Appropriations, the Judiciary’s Fiscal year 2016

spending plan. (05/09/2016 at 12:24 PM).

       29.     Tab 28 is a true and correct redacted-copy of an email approving, on

behalf of the Senate Committee on Appropriations, the Judiciary’s Fiscal year 2017

spending plan. (08/07/2017 at 4:07 PM).
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     30.    Tab 29 is a true and correct copy of a letter from Congressman Tom

Graves approving, on behalf of the House Committee on Appropriations, the Judiciary’s

Fiscal year 2017 spending plan. (July 25, 2017).

Electronic Public Access Program Expenditures

       31.     Tab 30 is a true and correct copy of expenditures relating to the

Judiciary’s Electronic Public Access Program for fiscal year 2000.

       32.     Tab 31 is a true and correct copy of expenditures by the Judiciary’s

Electronic Public Access Program for fiscal year 2001.

       33.     Tab 32 is a true and correct copy of expenditures by the Judiciary’s

Electronic Public Access Program for fiscal year 2002.

       34.     Tab 33 is a true and correct copy of expenditures by the Judiciary’s

Electronic Public Access Program for fiscal years 2003, 2004, and 2005.

       35.     Tab 34 is a true and correct copy of preliminary numbers on

expenditures by the Judiciary’s Electronic Public Access Program for fiscal year 2006.

       36.     Tab 35 is a true and correct copy of expenditures by the Judiciary’s

Electronic Public Access Program for fiscal years 2007 and 2008.

       37.     Tab 36 is a true and correct copy of expenditures by the Judiciary’s

Electronic Public Access Program for fiscal year 2009.

Other Requested Documents

       38.     Tab 37 is a true and correct compilation of the expenditures that were

listed under the heading “Congressional Priorities” at any time between 2002 and 2016,

along with years the item was listed under “Congressional Priorities”, and the

“Congressional Directive/mandate/approval” for that expenditure.

       39.     Tab 38 is a true and correct copy of page 1 and pages 173 thru 183 of

Senate Report 109-293 regarding the 2007 Judiciary Appropriations Bill.

       40.     Tab 39 is a true and correct copy of page 1 and pages 30 thru 36 of House

Report 112-136 on the 2012 Judiciary Appropriations Bill.
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               41.    Tab 40 is a true and correct copy of page 1 and pages 45 thru 52 of Senate

       Report 112-79 on the 2012 Judiciary Appropriations Bill.


I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true and

correct.

                                                               /s/ Wendell A. Skidgel Jr.
     Executed on March 14, 2018.
                                                                  Wendell A. Skidgel, Jr.
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                                                ELECTRONIC PUBLIC ACCESS PROGRAM                                                      6-Mar-18
                                                 EXPENDITURES BY PROGRAM AREA

                                                Original        Reprogramming Obligations                       Projected
                                                FY 2000         out of        to                Remaining       Additional        Surplus/
                                                PLAN            Program       Date              Balance         Obligations       Deficit
Operations and Maintenance
   PACER Service Center                             1,211,367                         782,034         429,333         139,281           290,052
   Telecommunications                               4,984,590        2,666,555        372,197       1,945,838       1,947,660            -1,822
   EPA Equipment                                    4,056,752                       1,614,245       2,442,507       1,872,292           570,215
   Staff                                              601,099                         432,671         168,429               0           168,429
   Miscellaneous Operations                           571,932                         253,022         318,910           6,532           312,378
    Subtotal -- Operations and Maintenance         11,425,741        2,666,555      3,454,169       5,305,017       3,965,765         1,339,251
Program Enhancement and R&D Experiments
   Program Enhancements
       Kiosk                                          500,000                                         500,000               0           500,000
       EPA Grants                                     200,000                                         200,000               0           200,000
       Hold for new positions (1100 & 1200)           183,981                                         183,981               0           183,981
         Subtotal - Program Enhancements              883,981                0              0         883,981               0           883,981
    R&D Experiments                                   890,819           58,910                        831,909               0           831,909
     Subtotal -- Program Enhancements and R&D       1,774,800           58,910              0       1,715,890               0         1,715,890
Total Operations and Maintenance, Program          13,200,541        2,725,465      3,454,169       7,020,907       3,965,765         3,055,141
      Enhancements and R&D Experiments
Amount Identified for Expanded Services
    Internet                                        1,624,000                       1,624,000               0                                0
    Case Management/Electronic Case Files           5,850,000                       5,850,000               0                                0
    Infastructure                                   2,544,792                       2,544,792               0                                0
    Electronic Bankruptcy Noticing                    500,000                                         500,000                 0        500,000
      Subtotal -- Expanded Services                10,518,792                0    10,018,792          500,000                 0        500,000
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                                                  ELECTRONIC PUBLIC ACCESS PROGRAM                                                     6-Mar-18
                                                   EXPENDITURES BY PROGRAM AREA

                                                  Original         Reprogramming Obligations                     Projected
                                                  FY 2001          within/out of to              Remaining       Additional        Surplus/
                                                  PLAN             Program       Date            Balance         Obligations       Deficit
Operations and Maintenance
   PACER Service Center                                  809,912                0      709,649         100,263               0          100,263
   Telecommunications                                  7,071,439       -5,180,772      386,380       1,504,287               0        1,504,287
   EPA Equipment                                       4,285,786         -600,000    3,165,852       1,719,934         204,000        1,515,934
   Staff                                                 627,582            3,400      577,367          46,815               0           46,815
   Miscellaneous Operations                              512,065          202,203      242,992         471,276               0          471,276
    Subtotal -- Operations and Maintenance            13,306,784       -5,575,169    5,082,241       3,842,574         204,000        3,638,574
Program Enhancement and R&D Experiments
   Program Enhancements
       Kiosk                                             500,000                       117,425         382,575               0           382,575
       EPA Grants                                                                                            0               0                 0
         Subtotal - Program Enhancements                 500,000                0      117,425         382,575               0           382,575
    R&D Experiments                                    1,058,994         -323,028                      735,966         200,000           535,966
     Subtotal -- Program Enhancements and R&D          1,558,994         -323,028      117,425       1,118,541         200,000           918,541
Total Operations and Maintenance, Program             14,865,778       -5,898,197    5,199,666       4,961,116         404,000         4,557,115
      Enhancements and R&D Experiments
Amount Identified for Expanded Services
    Case Management/Electronic Case Files             13,924,880       -5,780,772   19,705,652               0                                0
      Subtotal -- Expanded Services                   13,924,880       -5,780,772   19,705,652               0                 0              0


Projected Revenue:                                $11,500,000.00
Total Dial-in Usage October - September:           $5,139,858.00
Total Internet Usage October - September:          $7,859,925.64
Total Collections as of September:                $12,381,684.83
Total Collections Less Refunds as of September:   $12,171,443.05
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                                                 ELECTRONIC PUBLIC ACCESS PROGRAM                                                      6-Mar-18
                                                  EXPENDITURES BY PROGRAM AREA

                                                 Original          Reprogramming Obligations                     Projected                        Carry
                                                 FY 2002           within/out of to              Remaining       Additional        Surplus/       Forward
                                                 PLAN              Program       Date            Balance         Obligations       Deficit        to FY 2003
Operations and Maintenance
   PACER Service Center                                  871,256                0      778,690         92,565               0            92,565
   Telecommunications                                  3,218,735         454,890     3,108,066        565,559         366,328           199,231
   EPA Equipment                                       4,190,656         -384,281    1,957,061      1,849,314               0         1,849,314      254,200
   Staff                                                 660,124                0      609,499         50,625               0            50,625
   EPA Program Operations                                818,000          328,493    1,146,493              0               0                 0
     Subtotal -- Operations and Maintenance            9,758,770          399,102    7,599,809      2,558,063         366,328         2,191,734      254,200
Program Enhancement and R&D Experiments
   Program Enhancements
       EPA Grants                                       200,000                 0       81,300        118,700               0           118,700
         Subtotal - Program Enhancements                200,000                 0       81,300        118,700               0           118,700
    R&D Experiments                                     686,933          -654,890                      32,043               0            32,043
      Subtotal -- Program Enhancements and R&D          886,933          -654,890       81,300        150,743               0           150,743            0
Total Operations and Maintenance, Program            10,645,703          -255,788    7,681,109      2,708,806         366,328         2,342,477      254,200
       Enhancements and R&D Experiments
Amount Identified for Expanded Services
     Case Management/Electronic Case Files             6,489,928        5,000,000   11,489,928               0                 0              0            0
      Subtotal -- Expanded Services                    6,489,928        5,000,000   11,489,928               0                 0              0            0


Projected Revenue:                                $17,500,000.00
Total Dial-in Usage Billed October - August:       $1,538,130.60
Total Internet Usage Billed October - August:     $17,292,931.18
Total Billable Usage October - August:            $18,831,061.78
Total Credits as of September:                        $32,041.12
Total Collections as of August:                   $17,234,001.00
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     ELECTRONIC PUBLIC ACCESS (EPA) PROGRAM
       Summary of Resources and Requirements
                 FY 2003 - FY 2005


                                                                           FY 2003           FY 2004           FY 2005
 1   AVAILABLE RESOURCES:                                                  Actuals           Acutals           Actuals
 2   EPA Carryforward from Prior Year                                  $     5,446,175   $     5,893,257   $    10,063,601
 3   Projected New Receipts                                            $    27,465,160   $    37,652,752   $    45,542,746
 4   Deposit from Print Fee Account (5114CR)                           $        97,261   $       107,354   $       117,000
 5   Total Available Resources                                         $    33,008,596   $    43,653,363   $    55,723,347

 6 PROGRAM REQUIREMENTS:
 7 Program Operations:
 8 PACER Service Center                                                      $991,400         $1,191,902   $     1,306,900
 9 Telecommunications                                                      $4,532,000         $4,268,023   $     3,586,000
10 EPA Equipment                                                           $2,565,000         $2,090,684   $     2,533,100
11 uscourts.gov Support                                                                                    $             -
12 Staff                                                                     $592,400           $687,242   $       762,100
13 EPA Program Operations (training, risk analysis, etc.)                    $758,900           $993,637   $       683,600
14 Subtotal, Program Operations                                            $9,439,700         $9,231,488   $     8,871,700

15 Program Enhancements:
16 EPA Grants                                                          $             -   $            -    $            -
17 Interim Archive Project                                             $             -   $      187,411    $            -
18 Appellate, District and Bankruptcy VCIS                             $             -   $            -    $            -
19   Opinions Database/E-government                                    $             -   $            -    $            -
20   Transcripts through the PACER Service Center                                        $            -    $            -
21   AO Web Site Redesign                                              $            -    $            -    $       49,480
22 Subtotal, Program Enhancements                                      $      149,200    $      187,411    $       49,480

23 Subtotal, Program Operations + Program Enhancements                                   $     9,418,899   $     8,921,180

24 Reserve, 1st Quarter O&M                                                              $      475,677    $      597,175

25 Total Program Requirements                                          $    9,588,900         $9,418,899        $9,518,355

26 Resources Available for S&E Utilization                             $   23,419,696    $    34,234,464   $    46,204,992

27   S&E Utilization:
28   CM/ECF Related:
29      Development and Implementation                                 $   17,526,439    $    19,493,482   $    17,816,478
30      Operations and Maintenance (O&M)                               $          -      $     1,106,217   $     1,480,674
31      Hardware Maintenance (absorbed in CM/ECF O&M budget in 2006)   $          -      $           -     $           -
32      Hardware Replacement (absorbed in CM/ECF O&M budget in 2006)   $          -      $           -     $           -
33      IMD Identified O&M (absorbed in base in 2006)                  $          -      $     1,856,664   $     3,421,300
34      Court Implementation Additives                                 $          -      $        67,200   $     1,926,440
35      Training for New Employees                                     $          -      $           -     $           -
36   Subtotal, CM/ECF Related                                          $   17,526,439    $    22,523,563   $    24,644,892
37   Electronic Bankruptcy Noticing                                    $          -      $     1,290,100   $     1,510,000
38   Internet Gateways                                                                   $           -     $     5,673,198
39   Subtotal, S&E Utilization                                         $   17,526,439    $    23,813,663   $    31,828,090
40   Projected EPA Carryforward (including 1st qtr. O&M earmark)       $    5,893,257    $    10,063,601   $    14,376,902
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                                                           DRAFT

ELECTRONIC PUBLIC ACCESS (EPA) PROGRAM
  Summary of Resources and Requirements
              FY 2006


                                                                                   FY 2006
AVAILABLE RESOURCES:                                                            Prelim Actuals
EPA Carryforward from Prior Year                                      $                             14,974,077
Projected New Receipts                                                $                             62,119,534
Deposit from Print Fee Account (5114CR)                               $                                110,000
Total Available Resources                                             $                             77,203,611

PROGRAM REQUIREMENTS:
Current Services
 PACER Service Center                                                 $                              1,781,900
 Telecommunications                                                   $                              3,987,117
  CM/ECF Repliction & Archive (provides CM/ECF COOP for Courts)       $                                      -
 EPA Equipment                                                        $                              4,263,700
 uscourts.gov Support                                                 $                                150,600
 Staff                                                                $                                725,304
 EPA Prog Ops (comp security training for courts, IDS & SPAs, etc.)   $                              1,030,400
Subtotal, Current Services                                            $                             11,939,021

Enhancements to Current Services
 EPA Grants                                                           $                                      -
 Multi-Court VCIS                                                     $                                      -
 JMS Web Page Front-end (moves to O&M in FY 2008)                     $                                      -
 Transcripts through the PACER Service Center                         $                                      -
Subtotal, Enhancements to Current Services                            $                                      -

Total Financial Plan Loaded into 51140X-OXEEPAX                       $                             11,939,021

Development and New Requirements -- Funds Held in 51140X-OXEEPAC Until Project Approvals Received
 Outsourcing uscourts.gov Web Site (moves to O&M in FY 2008)       $                                         -
 Outsourcing Replication/Interim Archive (moves to O&M in FY 2008) $                                         -
 Violent Crime Control Act Notification (moves to O&M in FY 2008)  $                                         -
Subtotal, Development and New Requirements                         $                                         -

Subtotal, Current Services, Enhancements & New Requirements           $                             11,939,021

Reserve, 1st Quarter Current Services                                 $                               694,311

Total Program Requirements                                            $                             12,633,332

Resources Available for S&E Utilization                               $                             64,570,279

S&E Utilization:
CM/ECF Related:
  Development and Implementation                                      $                              2,800,090
  Operations and Maintenance (O&M)                                    $                             22,455,568
  CM/ECF Court Allotments (OXEECFA)                                   $                                    -
  DCN Usage for Docketing, Replicaiton and e-mail                     $                              5,425,390
  Court Implementation Additives                                      $                                635,187
Subtotal, CM/ECF Related                                              $                             31,316,235
JMS Web Page Front-end                                                $                                      -
Violent Crime Control Act Notification                                $                                      -
Electronic Bankruptcy Noticing                                        $                              1,600,000
Courtroom Technology                                                  $                                    -
Subtotal, S&E Utilization                                             $                             32,916,235 *
Projected EPA Carryforward (includs 1st qtr. reserve)                 $                             31,654,044




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                              Tab 35
                                                                                     Revised:
ELECTRONIC PUBLIC ACCESS PROGRAM
                                                                        Case 1:16-cv-00745-ESH Document 81-1 Filed 03/15/18 Page 80 of 117
AVAILABLE RESOURCES:
                                                                              FY 2007         FY 2008
                                                                              Actuals         Actuals


EPA Carryforward from Prior Year                                          $ 32,200,000    $ 44,503,473
Projected New Receipts                                                    $ 65,036,874    $ 77,845,501
Deposit from Print Fee Account (5114CR)                                   $    120,000    $     130,000
Total Available Resources                                                 $ 97,356,874    $ 122,478,974

PROGRAM REQUIREMENTS:
Current Services
 PACER Service Center                                                     $   1,839,900   $    1,553,267
 Telecommunications                                                       $   4,491,694   $    5,625,391
  Replication & Archive (provides COOP for Courts)                        $         -     $    7,985,731
 EPA Equipment                                                            $   4,135,000   $    3,026,734
 uscourts.gov Support                                                     $     196,400   $      331,701
 Staff                                                                    $     708,000   $      534,249
 EPA Prog Ops (comp security training for courts, IDS & SPAs, etc.)       $   2,449,400   $    2,789,461
 Court Allotments (OXEEPAA) [included in program areas prior to FY09]
Subtotal, Current Services                                                $ 13,820,394    $ 21,846,534

Enhancements to Current Services
 EPA Grants                                                               $         -     $          -
 Multi-Court VCIS                                                         $         -     $          -
 Order/Inventory System
 JMS Web Page Front-end                                                   $     310,200   $          -
 VCIS/AVIS Voice Component                                                $         -     $          -
Subtotal, Enhancements to Current Services                                $     310,200   $          -

Total Financial Plan Loaded into 51140X-OXEEPAX                           $ 14,130,594    $ 21,846,534

Resources Available for S&E Utilization                                   $ 82,406,322    $ 100,632,440

Congressional Priorities:
CM/ECF Related:
  Development and Implementation (OXEECFP)                                $ 1,965,830     $    2,639,921
  Operations and Maintenance (O&M) (OXEECFO)                              $ 17,842,567    $    8,440,297
  CM/ECF Court Allotments (OXEECFA)                                       $        -      $    7,108,748
  CM/ECF Futures (OXECMFD)
  Appellate Operational Forum (OXEACAX)
  District Operational Forum (OXEDCAX)                                                    $    588,793
  Bankruptcy Operational Forum (OXEBCAX)                                                  $    508,292
  DCN Usage for Docketing, Replication and e-mail (OXDWANV)               $ 8,790,533     $ 11,176,451
  Court Implementation Additives                                          $     34,000    $    370,283
Subtotal, CM/ECF Related                                                  $ 28,632,930    $ 30,832,785
 Electronic Bankruptcy Noticing (BXEBNCO)                                 $   1,700,000   $ 2,700,000
 Courtroom Technology (OXHCRTO-3000)                                      $   7,000,000   $ 24,137,794
 State of Mississippi (OXEMSPX)
Subtotal, Congressional Priorities                                        $ 37,332,930    $ 57,670,579
Other EPA Revenue Uses:
 JMS Web Page Front-end (OXEJMSD)                                         $         -     $    1,514,106
 Violent Crime Control Act Notification (OXJVCCD & OXJVCCO)               $         -     $    1,103,353
Subtotal, Other EPA Revenue Uses                                          $         -     $    2,617,459

Subtotal, Congressional Priorities & Other EPA Revenue Uses               $ 37,332,930    $ 60,288,038
Projected EPA Carryforward (includes 1st qtr. Reserve for FY07)           $ 45,893,350    $ 40,344,402
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                              Tab 36
       Public Access and Records Management Division
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         AVAILABLE RESOURCES:
         Expanded Quarterly Report                                                   FY 2009         Date Printed: 3/6/2018
                                                                                     Actuals


    1       PACER Fee Revenue - Prior Year Carry Forward (OXEEPAC)               $      40,344,402

    2       PACER Fee Revenue - Current Year Receipts (OXEEPAC)                  $      88,563,295

    3       Print Fee Revenue - Prior Year Carry Forward (OXEEPAP)               $        481,082

    4       Print Fee Revenue - Current Year Receipts (OXEEPAP)                  $        170,926

    5    Total Available Resources                                               $     129,559,705

    6    PROGRAM REQUIREMENTS:

    7    Public Access Services and Applications

    8       EPA Program (OXEEPAX)                                                $      16,412,890

    9      EPA Technology Infrastructure & Applications (OXEPTAX)                $               -

    10     EPA Replication (OXEPARX)                                             $               -

    11   Public Access Services and Applications                                 $      16,412,890

    12   Case Management/Electronic Case Files System

    13      Development and Implementation (OXEECFP)                             $       1,991,900

    14      Operations and Maintenance (OXEECFO)                                 $      12,884,173

    15      Appellete Operational Forum (OXEAOPX)changed from OXEACAX            $               -

    16      District Operational Forum (OXEDCAX)                                 $        599,236

    17      Bankruptcy Operational Forum (OXEBCAX)                               $        516,379

    18   Subtotal, Case Management/Electronic Case Files System                  $      15,991,688

    19   Electronic Bankruptcy Noticing:

    20      Electronic Bankruptcy Noticing (OXEBNCO)                             $       9,700,000

    21   Subtotal, Electronic Bankruptcy Noticing                                $       9,700,000

    22   Telecommunications (PACER-Net & DCN)

    23     PACER-Net Content (OXENETV) in FY2010                                 $       6,388,568

    24     DCN Usage for Docketing, Replication /e-mail (OXDWANV/OXENETV $              10,975,978

    25   Subtotal, Telecommunications (PACER-Net & DCN)                          $      17,364,546

    26   Court Allotments

    27      Court Staffing Additives(OXEEPAA)                                    $               -

    28      Court Allotments (OXEEPAA) [incl. in program areas prior to FY 09]   $       1,566,879

    29      Clerk Backfills-2000 (OXEEPAA)

    30      CM/ECF Court Allotments (OXEECFA)                                    $       6,806,064

    31   Subtotal, Court Allotments                                              $       8,372,943

    32   Next Generation of CM/ECF

    33      CM/ECF Futures (OXECMFD)                                             $       1,696,566

    34     Courts/AO Exchange Program (OXEXCEX)

    35   Subtotal, Next Generation of CM/ECF                                     $       1,696,566

    36   Total Program Requirements                                              $      69,538,633

    37   Congressional Priorities:

    38   Victim Notification (Violent Crime Control Act)

    39     Violent Crime Control Act Notification (OXJVCCD)                      $               -

    40    Violent Crime Control Act Notification (OXJVCCO)                       $         68,858

    41   Subtotal, Victim Notification (Violent Crime Control Act)               $         68,858

    42    Web-based Juror Services

    43     Web-based Juror Services (OXEJMSD)                                    $        260,000

    44   Subtotal, Web-based Juror Services                                      $        260,000

    45     Courtroom Technology (OXHCRTO-3000)

    46     Courtroom Technology (OXHCRTO-3000)                                   $      24,634,259

    47   Subtotal, Courtroom Technology Program                                  $      24,634,259

    48     State of Mississippi (OXEMSPX)

    49     State of Mississippi (OXEMSPX)                                        $        159,547

    50   Subtotal, Mississippi State Courts                                      $        159,547

    51   Total Congressional Priorities                                          $      25,122,664

    52   Total Program & Congressional Priorities                                $      94,661,297
         Total EPA Carry Forward (Revenue less Disbursement)
    53                                                                           $      34,898,408

    54     PACER FEE (OXEEPAC) Carry Forward                                     $      34,381,874

    55     PRINT FEE (OXEEPAP) Carry Forward                                     $        516,534

    56   Total EPA Carry Forward                                                 $      34,898,408

    57     Total Print Fee Revenue                                               $        652,008

    58     Disbursed in (OXEEPAA) Allotments                                     $        135,474

    59     PRINT FEE (OXEEPAP) Carry Forward                                     $        516,534
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                              Tab 37
Case Management/Electronic Case Files
                                         Case 1:16-cv-00745-ESH Document           81-1 Filed 03/15/18 Page 84 of 117 Years
                                                                 Congressional Directive/mandate/approval

Budget Name
CM/ECF: Case Management/Electronic Case Files System - Development and
Implementation

Description
Development and Implementation costs for CM/ECF. CM/ECF is the case                            "The Committee expects the fee for the Electronic Public Access program to provide for Case
management system used in the appellate, district, and bankruptcy courts. CM/ECF               Management/Electronic Case Files system enhancements and operational costs." - Judiciary
provides the ability to store case file documents in electronic format and to accept filings   Appropriations Act of 2004 [H.R. Rep. No. 108-221 at 116]
over the Internet.                                                                                                                                                                                     07, 08

Budget Name
CM/ECF: Case Management/Electronic Case Files System - Operations &
Maintentance

Description
 Operations & Maintentance costs for CM/ECF. CM/ECF is the case management                     "The Committee expects the fee for the Electronic Public Access program to provide for Case
system used in the appellate, district, and bankruptcy courts. CM/ECF provides the             Management/Electronic Case Files system enhancements and operational costs." - Judiciary
ability to store case file documents in electronic format and to accept filings over the       Appropriations Act of 2004 [H.R. Rep. No. 108-221 at 116]
Internet.                                                                                                                                                                                              07, 08

Budget Name
CM/ECF Next Generation Project

Description
The CM/ECF Next Generation project is assessing the judiciary's long term case                 "The Committee expects the fee for the Electronic Public Access program to provide for Case
management and case filing requirements with a view to modernizing or replacing the            Management/Electronic Case Files system enhancements and operational costs." - Judiciary
CM/ECF systems.                                                                                Appropriations Act of 2004 [H.R. Rep. No. 108-221 at 116]                                               07, 08

Budget Name
CM/ECF Operational Practices Forums -- Appellate Courts

Description
The CM/ECF operational practices forums are annual conferences at which judges,                "The Committee expects the fee for the Electronic Public Access program to provide for Case
clerks of court, court staff, and AO staff exchange ideas and information about                Management/Electronic Case Files system enhancements and operational costs." - Judiciary
operational practices and policies related to the CM/ECF system.                               Appropriations Act of 2004 [H.R. Rep. No. 108-221 at 116]
                                                                                                                                                                                                       07, 08

Budget Name
CM/ECF Operational Practices Forums --District Courts

Description
The CM/ECF operational practices forums are annual conferences at which judges,                "The Committee expects the fee for the Electronic Public Access program to provide for Case
clerks of court, court staff, and AO staff exchange ideas and information about                Management/Electronic Case Files system enhancements and operational costs." - Judiciary
operational practices and policies related to the CM/ECF system.                               Appropriations Act of 2004 [H.R. Rep. No. 108-221 at 116]
                                                                                                                                                                                                       07, 08

Budget Name
CM/ECF Operational Practices Forums -- Bankruptcy Court

Description
The CM/ECF operational practices forums are annual conferences at which judges,                "The Committee expects the fee for the Electronic Public Access program to provide for Case
clerks of court, court staff, and AO staff exchange ideas and information about                Management/Electronic Case Files system enhancements and operational costs." - Judiciary
operational practices and policies related to the CM/ECF system.                               Appropriations Act of 2004 [H.R. Rep. No. 108-221 at 116]
                                                                                                                                                                                                       07, 08


Electronic Bankruptcy Noticing                                                                 Congressional Directive/mandate/approval                                                                Years

Budget Name
Electronic Bankruptcy Noticing

Description
The Bankruptcy Noticing Center (BNC) retrieves data each day from the bankruptcy               "The Committee supports the ongoing efforts of the Judiciary to improve and expand information
courts' CM/ECF databases, and produces and sends bankruptcy notices electronically or          made available in electronic form to the public. Accordingly, the Committee expects the Judiciary
by mail. Electronic transmission options include internet e-mail or fax and, for large         to utilize available balances derived from electronic public access fees in the Judiciary Automation
email recipients, EDI and XML.                                                                 Fund to make information and services more accessible to the public through improvements to
                                                                                               enhance the availability of electronic information. The overall quality of service to the public will
                                                                                               be improved with the availability of enhancements such as electronic case documents, electronic
                                                                                               filings, enhanced use of the Internet, and electronic bankruptcy noticing."-- Judiciary
                                                                                               Appropriations Act of 1997 [H.R. Rep. No. 104-676 at 89]
                                                                                                                                                                                                       07, 08

Court Allotments                                                                               Congressional Directive/mandate/approval                                                                Years

Budget Name
Court Implementation Additives

Description
These funds for a court additives to support activities like CM/ECF implementation and         "The Committee expects the fee for the Electronic Public Access program to provide for Case
making digital audio recordings of hearings available via PACER.                               Management/Electronic Case Files system enhancements and operational costs." - Judiciary
                                                                                               Appropriations Act of 2004 [H.R. Rep. No. 108-221 at 116]                                               07, 08



Courtroom Technology                                                                           Congressional Directive/mandate/approval                                                                Years


Budget Name
                                                                                               Financial Services and General Government Appropriations Act, 2008                                      07, 08, 09, 10, 11, 12,
Courtroom Technology                                                                           (Submitted to Congress in spending plan which was approved by Congress.)                                13, 14, 15, 16

Description
This allotment funds the maintenance, cyclical replacement, and upgrade of courtroom
technologies in the courts.



Telecommunications (PACER-Net & DCN)                                                           Congressional Directive/mandate/approval                                                                Years
Budget Name
PACER-Net                                Case 1:16-cv-00745-ESH Document 81-1 Filed 03/15/18 Page 85 of 117
Description
The Public Access Network (PACER-Net) is the network which allows courts to post                "The Committee supports the ongoing efforts of the Judiciary to improve and expand information
court information on the Internet in a secure manner. The public side of CM/ECF as well        made available in electronic form to the public. Accordingly, the Committee expects the Judiciary
as court web sites are hosted on the PACER-Net. As it is the most accessible network           to utilize available balances derived from electronic public access fees in the Judiciary Automation
                                                                                               Fund to make information and services more accessible to the public through improvements to
                                                                                               enhance the availability of electronic information. The overall quality of service to the public will
                                                                                               be improved with the availability of enhancements such as electronic case documents, electronic
                                                                                               filings, enhanced use of the Internet, and electronic bankruptcy noticing. -- Judiciary
                                                                                               Appropriations Act of 1997 [H.R. Rep. No. 104-676 at 89] and Judiciary Appropriations Act of
                                                                                               1992 [Pub. L. No. 102-140, Title III, Section 303]
                                                                                                                                                                                                       07, 08

Budget Name
DCN and Security Services

Description
Provides network circuits, routers, switches, security, optimization, and management            "The Committee supports the ongoing efforts of the Judiciary to improve and expand information
devices along with maintenance management and certain security services to support the         made available in electronic form to the public. Accordingly, the Committee expects the Judiciary
Judiciary's WAN network. This DCN cost is split between appropriated funds and EPA             to utilize available balances derived from electronic public access fees in the Judiciary Automation
funds.                                                                                         Fund to make information and services more accessible to the public through improvements to
                                                                                               enhance the availability of electronic information. The overall quality of service to the public will
                                                                                               be improved with the availability of enhancements such as electronic case documents, electronic
                                                                                               filings, enhanced use of the Internet, and electronic bankruptcy noticing." -- Judiciary
                                                                                               Appropriations Act of 1997 [H.R. Rep. No. 104-676 at 89] and Judiciary Appropriations Act of
                                                                                               1992 [Pub. L. No. 102-140, Title III, Section 303]
                                                                                                                                                                                                       07, 08



Victim Notification                                                                            Congressional Directive/mandate/approval                                                                Years

Budget Name
Violent Crime Control Act Notification

Description
The Law Enforcement Officer Notification project will develop a system for probation           "The Committee supports efforts of the judiciary to make information available to the public
and pretrial services officers to electronically notify local law enforcement agencies of      electronically, and expects that available balances from public access fees in the judiciary
changes to the case history of offenders under supervision as required by the Victim           automation fund will be used to enhance availability of public access." --Judiciary Appropriations      09, 10, 11, 12, 13, 14,
                                                                                               Act of 1999 [S. Rep. No. 105-235 at 114]                                                                15, 16



State of Mississippi                                                                           Congressional Directive/mandate/approval                                                                Years

Budget Name
State of Mississippi

Description
Mississippi state three year study of the feasibility of sharing the Judiciary's CM/ECF        "The Committee supports the Federal judiciary sharing its case management electronic case filing
filing system at the state level, to include electronic billing processes. Not to exceed the   system at the State level and urges the judiciary to undertake a study of whether sharing such
estimated cost of $1.4 million.                                                                technology, including electronic billing processes, is a viable option."-- Judiciary Appropriations
                                                                                               Act 2007 [S. Rept. No. 109-293 at page 176]                                                             07, 08, 09, 10, 12, 13



Web-based Juror Services                                                                       Congressional Directive/mandate/approval                                                                Years

Budget Name
Web based E Juror Services

Description
eJuror hotline and software maintenance cost, escrow services, scanner support                 "The Committee supports the ongoing efforts of the Judiciary to improve and expand information
                                                                                               made available in electronic form to the public. Accordingly, the Committee expects the Judiciary
                                                                                               to utilize available balances derived from electronic public access fees in the Judiciary Automation
                                                                                               Fund to make information and services more accessible to the public through improvements to
                                                                                               enhance the availability of electronic information. The overall quality of service to the public will
                                                                                               be improved with the availability of enhancements such as electronic case documents, electronic
                                                                                               filings, enhanced use of the Internet, and electronic bankruptcy noticing._-- Judiciary
                                                                                               Appropriations Act of 1997 [H.R. Rep. No. 104-676 at 89] & "The Committee supports efforts of
                                                                                               the judiciary to make electronic information available to the public, and expects that available
                                                                                               balances from public access fees in the judiciary automation fund will be used to enhance
                                                                                               availability of public access." -- Judiciary Appropriations Act of 1999 [S. Rep. No. 105-235 at 114]
                                                                                                                                                                                                       09, 10, 11, 12, 13, 14,
                                                                                                                                                                                                       15, 16
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          National Veterans Legal Services Program, et al., v. U.S.,
                       Civil Action No. 16-745 ESH


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                                                            Calendar No. 535
       109TH CONGRESS                                                        REPORT
                      "                       SENATE                    !
          2d Session                                                         109–293




       TRANSPORTATION, TREASURY, HOUSING AND URBAN DE-
        VELOPMENT, THE JUDICIARY, AND RELATED AGENCIES
        APPROPRIATIONS BILL, 2007


                                JULY 26, 2006.—Ordered to be printed



                  Mr. BOND, from the Committee on Appropriations,
                               submitted the following


                                           REPORT
                                      [To accompany H.R. 5576]

         The Committee on Appropriations, to which was referred the bill
       (H.R. 5576) making appropriations for the Departments of Trans-
       portation, Treasury, and Housing and Urban Development, the Ju-
       diciary, District of Columbia, and independent agencies for the fis-
       cal year ending September 30, 2007, and for other purposes, re-
       ports the same to the Senate with an amendment and recommends
       that the bill as amended do pass.
       Amounts of new budget (obligational) authority for fiscal year 2007
       Total of bill as reported to the Senate .................... $89,389,989,000
       Amount of 2006 appropriations 1 ............................. 102,948,146,000
       Amount of 2007 budget estimate ............................ 86,748,272,000
       Amount of House allowance 2 .................................. 86,656,536,000
       Bill as recommended to Senate compared to—
            2006 appropriations .......................................... ¥13,558,157,000
            2007 budget estimate ........................................ ∂2,641,717,000
            House allowance ................................................ ∂2,654,889,000
         1 Includes   $20,685,563,000 in emergency appropriations.
         2 Excludes   $575,200,000 considered by the House for the District of Columbia.




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                                                            TITLE IV
                                                     THE JUDICIARY
                                                 PROGRAM DESCRIPTION

          Established under Article III of the Constitution, the judicial
       branch of Government is a separate but equal branch. The Federal
       Judiciary consists of the Supreme Court, United States Courts of
       Appeals, District Courts, Bankruptcy Courts, Court of Inter-
       national Trade, Court of Federal Claims and several other entities
       and programs. The organization of the judiciary, the district and
       circuit boundaries, the places of holding court, and the number of
       Federal judges are legislated by the Congress and signed into law
       by the President.
          The Committee’s recommended funding levels support the Fed-
       eral judiciary’s role of providing equal justice under the law and in-
       clude sufficient funds to support this critical mission. The rec-
       ommended funding level includes the salaries of judges and sup-
       port staff and the operation and security of our Nation’s courts.
          The judicial branch is reminded that it, too, is subject to the
       same funding constraints facing the executive and legislative
       branches and continues to urge the Federal judiciary to devote its
       resources primarily to the retention of staff. Further, the judiciary
       is encouraged to contain controllable costs such as travel, construc-
       tion, and other non-essential expenses.
          In addition, the judiciary is reminded that section 705 of the ac-
       companying act applies to the judicial as well as the executive
       branch.
                                SUPREME COURT                   OF THE        UNITED STATES
                                               SALARIES AND EXPENSES

       Appropriations, 2006 .............................................................................     $60,143,000
       Budget estimate, 2007 ...........................................................................       63,405,000
       House allowance ....................................................................................    63,405,000
       Committee recommendation .................................................................              63,405,000

                                                 PROGRAM DESCRIPTION

         The United States Supreme Court consists of nine justices ap-
       pointed under Article III of the Constitution of the United States,
       one of whom is appointed as Chief Justice of the United States.
       The Supreme Court acts as the final arbiter in the Federal court
       system.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $63,405,000 for
       the Justices, their supporting personnel, and the costs of operating
       the Supreme Court, excluding the care of the building and grounds.
                                                                 (173)
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       The recommendation is $3,262,000 above the fiscal year 2006 fund-
       ing level and identical to the budget request.
                                   CARE OF THE BUILDING AND GROUNDS

       Appropriations, 2006 .............................................................................      $5,568,000
       Budget estimate, 2007 ...........................................................................       12,959,000
       House allowance ....................................................................................    12,959,000
       Committee recommendation .................................................................              12,959,000

                                         COMMITTEE RECOMMENDATION

          The Committee recommends an appropriation of $12,959,000 for
       personnel and other services related to the Supreme Court building
       and grounds, which is supervised by the Architect of the Capitol.
       The recommendation is $7,391,000 above the fiscal year 2006 fund-
       ing level and identical to the budget request.
          The Committee has provided the requested funds to complete the
       Supreme Court’s building modernization project and the necessary
       renovations to the East and West Conference Room ceilings. The
       Committee has also provided the requested funds to begin needed
       repairs and renovations to the Court’s roof system. Because this
       project will be phased over 5 years, the Committee directs the
       Court to report to the House and Senate Committee on Appropria-
       tions as the Court becomes aware of any changes in schedule or
       budgetary needs.
            UNITED STATES COURT                        OF    APPEALS          FOR THE         FEDERAL CIRCUIT
                                               SALARIES AND EXPENSES

       Appropriations, 2006 .............................................................................     $23,780,000
       Budget estimate, 2007 ...........................................................................       26,300,000
       House allowance ....................................................................................    26,000,000
       Committee recommendation .................................................................              25,273,000

                                                 PROGRAM DESCRIPTION

          The United States Court of Appeals for the Federal Circuit was
       established under Article III of the Constitution on October 1,
       1982. The court was formed by the merger of the United States
       Court of Customs and Patent Appeals and the appellate division of
       the United States Court of Claims. The court consists of twelve
       judges who are appointed by the President, with the advice and
       consent of the Senate. Judges are appointed to the court under Ar-
       ticle III of the Constitution of the United States.
          The Federal Circuit has nationwide jurisdiction in a variety of
       subject matter, including international trade, government con-
       tracts, patents, certain claims for money from the United States
       Government, Federal personnel, and veterans’ benefits. Appeals to
       the court come from all Federal district courts, the United States
       Court of Federal Claims, the United States Court of International
       Trade, and the United States Court of Veterans Appeals. The court
       also takes appeals of certain administrative agencies’ decisions, in-
       cluding the Merit Systems Protection Board, the Board of Contract
       Appeals, the Board of Patent Appeals and Interferences, and the
       Trademark Trial and Appeals Board. Decisions of the United
       States International Trade Commission, the Office of Compliance of
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       the United States Congress and the Government Accountability Of-
       fice Personnel Appeals Board are also reviewed by the court.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $25,273,000.
       The recommendation is $1,493,000 above the fiscal year 2006 fund-
       ing level and $1,027,000 below the budget request.
         Of the amount provided, the Committee has funded the re-
       quested increase for disaster recovery of information, but denies
       the program increase requests for information technology upgrades
       and the retrofitting of courtrooms to provide enhanced techno-
       logical capabilities. The Committee notes that the Federal Circuit
       currently has appropriate technology upgrades in one of its three
       courtrooms, which meets existing standards enacted by the Judicial
       Conference.
                                  U.S. COURT             OF INTERNATIONAL                   TRADE
                                               SALARIES AND EXPENSES

       Appropriations, 2006 .............................................................................       $15,345,000
       Budget estimate, 2007 ...........................................................................         16,182,000
       House allowance ....................................................................................      16,182,000
       Committee recommendation .................................................................                16,182,000

                                                 PROGRAM DESCRIPTION

         The United States Court of International Trade, located in New
       York City, consists of nine Article III judges. The court has exclu-
       sive nationwide jurisdiction over civil actions brought against the
       United States, its agencies and officers, and certain civil actions
       brought by the United States, arising out of import transactions
       and the administration and enforcement of the Federal customs
       and international trade laws.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $16,182,000.
       The recommendation is $837,000 above the fiscal year 2006 fund-
       ing level and the same as the budget request.
             COURTS         OF    APPEALS, DISTRICT COURTS,                            AND     OTHER JUDICIAL
                                               SERVICES
                                               SALARIES AND EXPENSES

       Appropriations, 2006 .............................................................................     $4,308,345,000
       Budget estimate, 2007 ...........................................................................       4,687,244,000
       House allowance ....................................................................................    4,556,114,000
       Committee recommendation .................................................................              4,583,360,000

                                                 PROGRAM DESCRIPTION

          Salaries and Expenses is one of four accounts that provide total
       funding for the Courts of Appeals, District Courts and Other Judi-
       cial Services. In addition to funding the salaries of judges and sup-
       port staff, this account also funds the operating costs of appellate,
       district and bankruptcy courts, and probation and pretrial services
       offices.
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                          COMMITTEE RECOMMENDATION

          The Committee recommends an appropriation of $4,583,360,000.
       The recommendation is $275,015,000 above the fiscal year 2006
       funding level and $103,884,000 below the budget request.
          The Committee has adequately funded this account to enable the
       courts to meet their workload demands. As previously stated, the
       Committee urges the Judicial Conference to make the retention of
       personnel its top priority. The Committee supports the Federal ju-
       diciary sharing its case management electronic case filing system
       at the State level and urges the judiciary to undertake a study of
       whether sharing such technology, including electronic billing proc-
       esses, is a viable option.
          Southwest Border.—The Committee is concerned about the im-
       pact that increased immigration funding and enforcement activities
       are having on the Federal judiciary’s caseload and their ability to
       handle such a dramatic increase in filings. At present, the criminal
       cases filed in the five districts along the Southwest border account
       for nearly one-third of criminal cases nationwide. Since 2001, ap-
       proximately 1,200 border agents have been added along the border
       with Mexico, resulting in a significant increase in caseload and
       workload levels. The judiciary plays an integral role in the Nation’s
       homeland security efforts, and the Committee commends the nu-
       merous judges and staff who have ensured the continuing success
       of this vital piece of the Nation’s border security strategy. Because
       the border courts remain critically understaffed, the Committee has
       provided $20,371,000, as requested, for magistrate judges and crit-
       ical staff positions for those districts located along the Southwest
       border. The Committee directs the Administrative Office to include
       a plan for the hiring of these positions in its fiscal year 2007 finan-
       cial plan and to keep the Committee apprised of the number of po-
       sitions actually brought on board along the Southwest border
       throughout fiscal year 2007.
          Staffing Formulas.—The Committee is aware that the Adminis-
       trative Office utilizes a sophisticated staffing formula to determine
       the staffing needs for the local courts. Due to the varied nature of
       caseload levels throughout the Nation, courts maintain different re-
       quirements for staffing. While the Southwest Border Courts have
       seen the greatest increase in funds allocated over the past several
       fiscal years, the gap between their funding allotment and their ac-
       tual workload growth remains substantially greater when com-
       pared to the courts throughout the rest of the Nation. For example,
       during several of the past few fiscal years, supplemental funding
       from the administrative office and Congress has been required to
       meet the unique needs of the Southwest Border Courts. This con-
       sistent need for additional urgently needed funding in this one re-
       gion demonstrates, at a minimum, the need for a thorough review
       of the staffing formulas used to determine local court needs. The
       Committee recognizes that the formulas currently employed to de-
       termine staffing needs place significant weight on the work re-
       quirements of the local courts’ districts. However, due to the in-
       creasing gap between workload and staffing levels, the Committee
       is concerned that the current formula does not adequately address
       the differing staffing requirements that face courts located along
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       the Southwest border. As such, the Administrative Office will re-
       port to the House and Senate Committees on Appropriations no
       later than 120 days after the date of enactment of this act on what
       steps it has taken to ensure that its staffing formulas reflect these
       changing trends in caseload activity. The Committee also directs
       the administrative office to ensure that the staffing formula en-
       sures that adequate resources are being directed to the Southwest
       border and particularly to the Probation and Pretrial Services pro-
       gram.
          Courthouse Construction.—The Committee is aware that the ju-
       diciary’s self-imposed moratorium on courthouse construction
       projects ends September 30, 2006. The Committee notes that the
       judiciary continues to face rising rent costs that are, in part, a re-
       sult of past courthouse construction projects that were not ade-
       quately reduced in scope. As such, the Committee strongly urges
       the Judicial Conference to weigh carefully its need for more space
       to adjudicate cases against the Federal judiciary’s rent needs. The
       Committee encourages the Judicial Conference to ensure adequate
       checks are in place to guarantee that future construction requests
       and projects are subjected to the highest standards of cost-effi-
       ciencies. The June, 2006, GAO report entitled, ‘‘Federal Court-
       houses: Rent Increases Due to New Space and Growing Energy and
       Security Costs Require Better Tracking and Management’’ notes
       that there are currently no incentives for district and circuit courts
       to make more efficient use of their space. The Committee is con-
       cerned that such a lack of incentives has caused the judicial branch
       to pay rent for more space than is necessary. As such, the Adminis-
       trative Office is directed to report to the House and Senate Com-
       mittees on Appropriations no later than 120 days after the date of
       enactment of this act on steps that have been and are being taken
       to encourage more efficient use of space by district and circuit
       courts. Further, the Committee encourages the Administrative Of-
       fice to continue to work with the General Services Administration
       to ensure fair and accurate rent charges and to pursue corrections
       to any inequities.
          Carryover Funds.—Due to unique circumstances, the judiciary
       reported significant carryover funds for fiscal year 2005 and
       projects more carryover in funding for fiscal year 2006. The Com-
       mittee is concerned that the administrative office has not first used
       these carryover funds to offset projected decreases in fee collections
       and other projected needs and has, instead, used this funding to
       augment existing programs. This has resulted in an increase in the
       judiciary’s uncontrollable costs, unnecessary funding requests and
       greater baseline needs. As such, the Administrative Office is di-
       rected to ensure that current and projected funding needs are met
       first with carryover funds before enhancing any program. The Com-
       mittee directs the Administrative Office to separately include in fu-
       ture financial plans, for approval by the House and Senate Com-
       mittees on Appropriations, all sources of carryover funds and their
       desired application.
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                             VACCINE INJURY COMPENSATION TRUST FUND

       Appropriations, 2006 .............................................................................       $3,795,000
       Budget estimate, 2007 ...........................................................................         3,952,000
       House allowance ....................................................................................      3,952,000
       Committee recommendation .................................................................                3,952,000

                                                 PROGRAM DESCRIPTION

         Enacted by The National Childhood Vaccine Injury Act of 1986
       (Public Law 99–660), the Vaccine Injury Compensation Program is
       a Federal no-fault program designed to resolve a perceived crisis in
       vaccine tort liability claims that threatened the continued avail-
       ability of childhood vaccines nationwide. The statute’s primary in-
       tention is the creation of a more efficient adjudicatory mechanism
       that ensures a no-fault compensation result for those allegedly in-
       jured or killed by certain covered vaccines. This program protects
       the availability of vaccines in the United States by diverting a sub-
       stantial number of claims from the tort arena.
         Not only did this act create a special fund to pay judgments
       awarded under the act, but it also created the Office of Special
       Masters [OSM] within the United States Court of Federal Claims
       to hear vaccine injury cases. The act stipulates that up to eight
       special masters may be appointed for this purpose. The special
       masters expenditures are reimbursed to the judiciary for vaccine
       injury cases from a special fund set up under the Vaccine Act.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $3,952,000. The
       recommendation is $157,000 above the fiscal year 2006 funding
       level and consistent with the budget request.
                                                  DEFENDER SERVICES
       Appropriations, 2006 .............................................................................     $709,830,000
       Budget estimate, 2007 ...........................................................................       803,879,000
       House allowance ....................................................................................    750,033,000
       Committee recommendation .................................................................              761,051,000

                                                 PROGRAM DESCRIPTION

          The Defender Services program ensures the right to counsel
       guaranteed by the Sixth Amendment, the Criminal Justice Act (18
       U.S.C. 3006A(e)) and other congressional mandates for those who
       cannot afford to retain counsel and other necessary defense serv-
       ices. The Criminal Justice Act provides that courts appoint counsel
       from Federal public and community defender organizations or from
       a panel of private attorneys established by the court. The Defender
       Services program helps to maintain public confidence in the Na-
       tion’s commitment to equal justice under the law and ensures the
       successful operation of the constitutionally based adversary system
       of justice by which Federal criminal laws and federally guaranteed
       rights are enforced.
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                                         COMMITTEE RECOMMENDATION

          The Committee recommends an appropriation of $761,051,000.
       The recommendation is $51,221,000 above the fiscal year 2006
       funding level and $42,828,000 below the budget request.
          While the Committee has provided sufficient funds to enable the
       Defenders Services program to continue to provide timely and qual-
       ity counsel services, the Committee is concerned about recurring
       projected shortfalls in the Defender Services account. To the extent
       that the other salaries and expense accounts within the judiciary
       title must absorb certain mandatory adjustments to base, the Com-
       mittee directs the Defender Services program to treat its Federal
       Defender Organizations in the same manner. The Committee has
       denied all program increase requests for this account and directs
       the Administrative Office to ensure that all resources provided are
       first used to ensure the timely payment of panel attorneys.
          Panel Attorney Pay Rates.—The Committee has included funding
       to annualize the fiscal year 2006 pay adjustment for capital and
       non-capital panel attorneys but denies all requests for cost of living
       adjustments and pay raises for panel attorneys for fiscal year 2007.
       The Committee notes that future cost of living adjustment requests
       should not be presented as adjustments to base, but should be re-
       quested as a program increase.
                                  FEES       OF    JURORS         AND     COMMISSIONERS
       Appropriations, 2006 .............................................................................      $60,705,000
       Budget estimate, 2007 ...........................................................................        63,079,000
       House allowance ....................................................................................     63,079,000
       Committee recommendation .................................................................               63,079,000

                                                 PROGRAM DESCRIPTION

         This account provides for the statutory fees and allowances of
       grand and petit jurors and for the compensation of jury and land
       commissioners. Budgetary requirements depend primarily upon the
       volume and the length of jury trials demanded by parties to both
       civil and criminal actions and the number of grand juries being
       convened by the courts at the request of the United States Attor-
       neys.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $63,079,000.
       The recommendation is $2,374,000 above the fiscal year 2006 fund-
       ing level and reflects the judiciary’s reestimate of fiscal year 2007
       requirements.
                                                      COURT SECURITY
                                      (INCLUDING TRANSFERS OF FUNDS)

       Appropriations, 2006 .............................................................................     $368,280,000
       Budget estimate, 2007 ...........................................................................       410,334,000
       House allowance ....................................................................................    400,334,000
       Committee recommendation .................................................................              397,737,000
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                                                 PROGRAM DESCRIPTION

          The Court Security appropriation was established in 1983 and
       funds the necessary expenses incident to the provision of protective
       guard services, and the procurement, installation, and maintenance
       of security systems and equipment for United States courthouses
       and other facilities housing Federal court operations, including
       building access control, inspection of mail and packages, directed
       security patrols, perimeter security provided by the Federal Protec-
       tive Service, and other similar activities as authorized by section
       1010 of the Judicial Improvement and Access to Justice Act (Public
       Law 100–702).
                                         COMMITTEE RECOMMENDATION

          The Committee recommends an appropriation of $397,737,000.
       The recommendation is $29,457,000 above the fiscal year 2006
       funding level and $12,597,000 below the budget request.
          The Committee is concerned about the security of the United
       States Courthouses and is committed to ensuring the Nation’s Fed-
       eral appellate and district courts possess adequate security meas-
       ures. Sufficient funding has been provided to retain and hire all re-
       quested court security officers for fiscal year 2007. While the Com-
       mittee has provided funding for the digital video recording initia-
       tive, the Committee is concerned about the significant costs associ-
       ated with procuring these systems. The Committee notes that the
       United States Marshall’s Service has indicated that the vast major-
       ity of digital video recorders can be purchased for substantially less
       than expected and urges the Administrative Office to work with the
       United States Marshall’s Service to ensure optimum cost effi-
       ciencies.
          The Committee has limited the judiciary’s payments to the Fed-
       eral Protective Service [FPS] to no more than $66,900,000 and di-
       rects the Administrative Office to obtain regular notifications from
       the FPS on any changes in funding requirements.
          Judicial Facility Security Program.—As provided in bill lan-
       guage, the United States Marshals Service [USMS] is responsible
       for administering the Judicial Facility Security Program consistent
       with standards and guidelines agreed to by the Director of the Ad-
       ministrative Office of the U.S. Courts and the Attorney General.
       However, court security funding is appropriated by Congress di-
       rectly to the judiciary which provides an important stewardship
       role, including financial and program oversight. While court secu-
       rity funding is subsequently transferred to the USMS, which is re-
       sponsible for program administration, the Committee expects full
       cooperation from the USMS as the judiciary conducts the fiduciary
       and program oversight responsibilities pertaining to this funding.
                 ADMINISTRATIVE OFFICE                         OF THE        UNITED STATES COURTS
                                               SALARIES AND EXPENSES

       Appropriations, 2006 .............................................................................     $69,559,000
       Budget estimate, 2007 ...........................................................................       75,333,000
       House allowance ....................................................................................    73,800,000
       Committee recommendation .................................................................              74,333,000
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                                                 PROGRAM DESCRIPTION

          The Administrative Office [AO] of the United States Courts was
       created in 1939 by an Act of Congress. It serves the Federal judici-
       ary in carrying out its constitutional mission to provide equal jus-
       tice under the law. Beyond providing numerous services to the Fed-
       eral courts, the AO provides support and staff counsel to the Judi-
       cial Conference of the United States and its committees, and imple-
       ments Judicial Conference policies as well as applicable Federal
       statutes and regulations. The AO is the focal point for communica-
       tion and coordination within the judiciary and with Congress, the
       executive branch, and the public on behalf of the judiciary.
                                         COMMITTEE RECOMMENDATION

          The Committee recommends an appropriation of $74,333,000.
       This recommendation is $4,774,000 above the fiscal year 2006
       funding level and $1,000,000 below the budget request.
          Edwin L. Nelson Local Initiative Program.—As established in the
       fiscal year 2005 appropriations act, the Edwin L. Nelson Local Ini-
       tiative Program made grants available to local courts to develop
       and implement information technology solutions for the unique
       problems they face. Such grants ensure greater flexibility, access to
       funds, information sharing and input into the various obstacles
       that must be overcome to produce a more automated and efficient
       Federal judiciary. The Committee urges the AO to continue to work
       with and provide adequate resources to the local courts for this
       purpose.
                                            FEDERAL JUDICIAL CENTER
                                               SALARIES AND EXPENSES

       Appropriations, 2006 .............................................................................     $22,127,000
       Budget estimate, 2007 ...........................................................................       23,787,000
       House allowance ....................................................................................    23,500,000
       Committee recommendation .................................................................              23,390,000

                                                 PROGRAM DESCRIPTION

          The Federal Judicial Center, located in Washington, DC, im-
       proves the management of Federal judicial dockets and court ad-
       ministration through education for judges and staff and research,
       evaluation, and planning assistance for the courts and the Judicial
       Conference. The Center’s responsibilities include educating judges
       and other judicial branch personnel about legal developments and
       efficient litigation management and court administration. Addition-
       ally, the Center also analyzes the efficacy of case and court man-
       agement procedures and ensures the Federal judiciary is aware of
       the methods of best practice.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $23,390,000.
       The recommendation is $1,263,000 above the fiscal year 2006 fund-
       ing level and $397,000 below the budget request.
         The Committee has included all requested funds in the Center’s
       adjustment to base and half the funds requested for education, re-
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       search and technology enhancements. The Committee directs the
       Federal Judicial Center to keep the Committee apprised of staff
       brought on board throughout fiscal year 2007.
                                          JUDICIAL RETIREMENT FUNDS
                                   PAYMENT TO JUDICIARY TRUST FUNDS

       Appropriations, 2006 .............................................................................     $40,600,000
       Budget estimate, 2007 ...........................................................................       58,300,000
       House allowance ....................................................................................    58,300,000
       Committee recommendation .................................................................              58,300,000

                                                 PROGRAM DESCRIPTION

         The funds in this account cover the estimated future benefit pay-
       ments to be made to retired bankruptcy judges and magistrate
       judges, claims court judges, and spouses and dependent children of
       deceased judicial officers.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $58,300,000 for
       payments to the Judicial Officers’ Retirement Fund and the Claims
       Court Judges Retirement Fund. The recommendation is
       $17,700,000 above the fiscal year 2006 funding level and identical
       to the budget request.
                               UNITED STATES SENTENCING COMMISSION
                                               SALARIES AND EXPENSES

       Appropriations, 2006 .............................................................................     $14,256,000
       Budget estimate, 2007 ...........................................................................       15,740,000
       House allowance ....................................................................................    15,500,000
       Committee recommendation .................................................................              15,340,000

                                                 PROGRAM DESCRIPTION

         The United States Sentencing Commission establishes, reviews
       and revises sentencing guidelines, policies and practices for the
       Federal criminal justice system. The Commission is also required
       to monitor the operation of the guidelines and to identify and re-
       port necessary changes to the Congress.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $15,340,000.
       The recommendation is $1,084,000 above the fiscal year 2006 fund-
       ing level and $400,000 below the budget request.
                           ADMINISTRATIVE PROVISIONS—THE JUDICIARY
         The Committee recommends the following administrative provi-
       sions for the judiciary.
         Section 401 allows the judiciary to expend funds for the employ-
       ment of experts and consultant services.
         Section 402 allows the judiciary, subject to the Committee’s re-
       programming procedures, to transfer up to 5 percent between ap-
       propriations, but limits to 10 percent the amount that can be trans-
       ferred into any one appropriation.
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         Section 403 limits official reception and representation expenses
       incurred by the Judicial Conference of the United States to no
       more than $11,000.
         Section 404 requires the Administrative Office to submit an an-
       nual financial plan for the judiciary.
         Section 405 allows for a salary adjustment for Justices and
       judges.
         Section 406 grants the judicial branch the same tenant alteration
       authorities as the executive branch.
         Section 407 prohibits any judge from being entitled to sole use
       of a courtroom and requires courtrooms to be scheduled based on
       the needs of the circuit and district courts. This is intended solely
       to address circumstances where courtrooms are not in full use and
       where the sharing of a courtroom will help reduce an overburdened
       judicial docket.
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          National Veterans Legal Services Program, et al., v. U.S.,
                       Civil Action No. 16-745 ESH


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                                                                                  112TH CONGRESS                                                                                          REPORT
                                                                                                 " HOUSE OF REPRESENTATIVES                                                        !
                                                                                     1st Session                                                                                          112–136




                                                                                         FINANCIAL SERVICES AND GENERAL GOVERNMENT
                                                                                                   APPROPRIATIONS BILL, 2012



                                                                                      JULY 7, 2011.—Committed to the Committee of the Whole House on the State of
                                                                                                        the Union and ordered to be printed




                                                                                             Mrs. EMERSON, from the Committee on Appropriations,
                                                                                                          submitted the following


                                                                                                                                  R E P O R T
                                                                                                                                     together with

                                                                                                                               MINORITY VIEWS

                                                                                                                              [To accompany H.R. 2434]

                                                                                    The Committee on Appropriations submits the following report in
                                                                                  explanation of the accompanying bill making appropriations for fi-
                                                                                  nancial services and general government for the fiscal year ending
                                                                                  September 30, 2012.
                                                                                                                            INDEX TO BILL AND REPORT


                                                                                                                                                                                                 Page number
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                                                                                                                                     30

                                                                                  counts within the Executive Office of the President, after notifying
                                                                                  the Committees on Appropriations at least 15 days in advance.
                                                                                    Section 202. The Committee includes new language rescinding
                                                                                  $11,328,000 in unobligated prior year balances from the
                                                                                  Counterdrug Technology Assessment Center. This rescission was
                                                                                  proposed in the budget request.
                                                                                    Section 203. The Committee includes new language prohibiting
                                                                                  funds to prepare, sign or approve statements abrogating legislation
                                                                                  passed by the House of Representatives and the Senate and signed
                                                                                  by the President.
                                                                                    Section 204. The Committee includes new language requiring the
                                                                                  Director of the Office of Management and Budget to submit quar-
                                                                                  terly reports to the Committee on the implementation of Executive
                                                                                  Order 13563 relating to improving regulation and regulatory re-
                                                                                  view.
                                                                                    Section 205. The Committee includes new language requiring the
                                                                                  Director of the Office of Management and Budget to report on the
                                                                                  costs of implementing the Dodd-Frank Wall Street Reform and
                                                                                  Consumer Protection Act (Public Law 111–203).
                                                                                                               TITLE III—THE JUDICIARY
                                                                                     The funds recommended by the Committee in title III of the ac-
                                                                                  companying bill are for the operation and maintenance of United
                                                                                  States Courts and include the salaries of judges, probation and pre-
                                                                                  trial services officers, public defenders, court clerks, law clerks, and
                                                                                  other supporting personnel, as well as security costs, information
                                                                                  technology, and other expenses of the Federal Judiciary.
                                                                                     The Committee recommends a total of $6,326,318,000 in discre-
                                                                                  tionary funding for the Judiciary in fiscal year 2012, which is
                                                                                  $151,256,000 less than fiscal year 2011 and $529,729,000 less than
                                                                                  the request. The Committee recognizes that the number of cases
                                                                                  filed and the number of persons under supervision is not under the
                                                                                  control of the Judiciary. However, the Committee believes the Judi-
                                                                                  ciary needs to continue its cost containment efforts and identify
                                                                                  ways to reduce staffing, travel, space and other financial require-
                                                                                  ments through the use of technology and best practices.
                                                                                     In addition to direct appropriations, the Judiciary collects various
                                                                                  fees and has certain multiyear funding authorities. The Judiciary
                                                                                  uses these non-appropriated funds to offset its direct appropriation
                                                                                  requirements. Consistent with prior year practices and section 608
                                                                                  of this Act, the Committee expects the Judiciary to submit a finan-
                                                                                  cial plan, within 60 days of enactment of this Act, allocating all
                                                                                  sources of available funds including appropriations, fee collections,
                                                                                  and carryover balances. This financial plan will be the baseline for
                                                                                  purposes of reprogramming notification. The Committee notes that
                                                                                  a bill language section included in prior years requiring a Judiciary
                                                                                  financial plan was dropped as it is redundant to the requirement
                                                                                  established in section 608.
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                                                                                                                                          31

                                                                                                         SUPREME COURT                 OF THE       UNITED STATES
                                                                                                                       SALARIES AND EXPENSES

                                                                                  Appropriation, fiscal year 2011 .........................................................      $73,921,000
                                                                                  Budget request, fiscal year 2012 .......................................................        75,551,000
                                                                                  Recommended in the bill ...................................................................     74,819,000
                                                                                  Bill compared with:
                                                                                       Appropriation, fiscal year 2011 ..................................................          +898,000
                                                                                       Budget request, fiscal year 2012 ................................................           ¥732,000

                                                                                                                  COMMITTEE RECOMMENDATION

                                                                                     The Committee recommends an appropriation of $74,819,000 for
                                                                                  fiscal year 2012 for the salaries and expenses of personnel and the
                                                                                  cost of operating the Supreme Court, excluding the care of the
                                                                                  building and grounds. The recommendation is $898,000 more than
                                                                                  fiscal year 2011 and is $732,000 less than the request. The in-
                                                                                  creased funding provided above the fiscal year 2011 level is for
                                                                                  twelve additional police officers requested by the Court to meet se-
                                                                                  curity requirements.
                                                                                     The Committee continues to include bill language making
                                                                                  $2,000,000 available until expended for the purpose of making in-
                                                                                  formation technology investments. The Committee requests that
                                                                                  the Court include an annual report with its budget justification
                                                                                  materials, showing information technology carryover balances and
                                                                                  describing expenditures made in the previous fiscal year and
                                                                                  planned expenditures in the budget year.
                                                                                                            CARE OF THE BUILDING AND GROUNDS

                                                                                  Appropriation, fiscal year 2011 .........................................................       $8,159,000
                                                                                  Budget request, fiscal year 2012 .......................................................         8,504,000
                                                                                  Recommended in the bill ...................................................................      8,159,000
                                                                                  Bill compared with:
                                                                                       Appropriation, fiscal year 2011 ..................................................             –––
                                                                                       Budget request, fiscal year 2012 ................................................           ¥345,000

                                                                                                                  COMMITTEE RECOMMENDATION

                                                                                     The Committee recommends an appropriation of $8,159,000 for
                                                                                  fiscal year 2012, to remain available until expended, for personnel
                                                                                  and other services relating to the structural and mechanical care
                                                                                  of the Supreme Court building and grounds. The Architect of the
                                                                                  Capitol has responsibility for these functions and supervises the
                                                                                  use of this appropriation. The recommendation is equal to fiscal
                                                                                  year 2011 and $345,000 less than the request.
                                                                                       UNITED STATES COURT                     OF   APPEALS         FOR THE        FEDERAL CIRCUIT
                                                                                                                       SALARIES AND EXPENSES

                                                                                  Appropriation, fiscal year 2011 .........................................................      $32,511,000
                                                                                  Budget request, fiscal year 2012 .......................................................        35,139,000
                                                                                  Recommended in the bill ...................................................................     31,472,000
                                                                                  Bill compared with:
                                                                                       Appropriation, fiscal year 2011 ..................................................        ¥1,039,000
                                                                                       Budget request, fiscal year 2012 ................................................         ¥3,667,000

                                                                                                                  COMMITTEE RECOMMENDATION
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                                                                                     The Court of Appeals for the Federal Circuit has exclusive na-
                                                                                  tional jurisdiction over a large number of diverse subject areas, in-




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                                                                                  cluding government contracts, patents, trademarks, Federal per-
                                                                                  sonnel, and veterans’ benefits. The Committee recommends an ap-
                                                                                  propriation of $31,472,000 for fiscal year 2012, which is $1,039,000
                                                                                  less than fiscal year 2011 and $3,667,000 less than the request.
                                                                                                   UNITED STATES COURT                    OF INTERNATIONAL                 TRADE
                                                                                                                       SALARIES AND EXPENSES

                                                                                  Appropriation, fiscal year 2011 .........................................................       $21,447,000
                                                                                  Budget request, fiscal year 2012 .......................................................         22,891,000
                                                                                  Recommended in the bill ...................................................................      20,628,000
                                                                                  Bill compared with:
                                                                                       Appropriation, fiscal year 2011 ..................................................           ¥819,000
                                                                                       Budget request, fiscal year 2012 ................................................           ¥2,263,000
                                                                                                                  COMMITTEE RECOMMENDATION

                                                                                    The Court of International Trade has exclusive nationwide juris-
                                                                                  diction of civil actions against the United States and certain civil
                                                                                  actions brought by the United States, arising out of import trans-
                                                                                  actions and administration and enforcement of the Federal customs
                                                                                  and international trade laws. The Committee recommends an ap-
                                                                                  propriation of $20,628,000 for fiscal year 2012, which is $819,000
                                                                                  less than fiscal year 2011 and $2,263,000 less than the request.
                                                                                        COURTS        OF   APPEALS, DISTRICT COURTS,                        AND     OTHER JUDICIAL
                                                                                                                        SERVICES
                                                                                                                       SALARIES AND EXPENSES

                                                                                  Appropriation, fiscal year 2011 .........................................................     $5,004,221,000
                                                                                  Budget request, fiscal year 2012 .......................................................       5,236,166,000
                                                                                  Recommended in the bill ...................................................................    4,790,855,000
                                                                                  Bill compared with:
                                                                                       Appropriation, fiscal year 2011 ..................................................       ¥213,366,000
                                                                                       Budget request, fiscal year 2012 ................................................        ¥445,311,000
                                                                                                                  COMMITTEE RECOMMENDATION

                                                                                     The Committee recommends an appropriation of $4,790,855,000
                                                                                  for the operations of the regional courts of appeals, district courts,
                                                                                  bankruptcy courts, the Court of Federal Claims, and probation and
                                                                                  pretrial services offices. The recommendation is $213,366,000 less
                                                                                  than fiscal year 2011 and $445,311,000 less than the request.
                                                                                     The Committee understands that the Judiciary’s staffing, oper-
                                                                                  ations and maintenance, and information technology resources are
                                                                                  allocated to the courts according to formulas that are approved by
                                                                                  the Judicial Conference of the United States and equitably dis-
                                                                                  tribute resources based on the workload of each district. The Com-
                                                                                  mittee believes this is the optimal method of making such alloca-
                                                                                  tions and expects the Judiciary to continue to allocate its resources
                                                                                  using this system. The Committee also expects the Administrative
                                                                                  Office to periodically update the formulas to ensure their accuracy.
                                                                                                      VACCINE INJURY COMPENSATION TRUST FUND

                                                                                  Appropriation, fiscal year 2011 .........................................................        $4,775,000
                                                                                  Budget request, fiscal year 2012 .......................................................          5,011,000
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                                                                                  Recommended in the bill ...................................................................       4,775,000
                                                                                  Bill compared with:
                                                                                       Appropriation, fiscal year 2011 ..................................................             – – –
                                                                                       Budget request, fiscal year 2012 ................................................            ¥236,000




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                                                                                                                  COMMITTEE RECOMMENDATION

                                                                                     The Committee recommends a reimbursement of $4,775,000 for
                                                                                  fiscal year 2012 from the Vaccine Injury Compensation Trust Fund
                                                                                  to cover expenses of the United State Court of Federal Claims asso-
                                                                                  ciated with processing cases under the National Childhood Vaccine
                                                                                  Injury Act of 1986. This amount is the same as fiscal year 2011
                                                                                  and $236,000 less than the request.
                                                                                                                           DEFENDER SERVICES

                                                                                  Appropriation, fiscal year 2011 .........................................................     $1,025,693,000
                                                                                  Budget request, fiscal year 2012 .......................................................       1,098,745,000
                                                                                  Recommended in the bill ...................................................................    1,050,000,000
                                                                                  Bill compared with:
                                                                                       Appropriation, fiscal year 2011 ..................................................        +24,307,000
                                                                                       Budget request, fiscal year 2012 ................................................         ¥48,745,000

                                                                                                                  COMMITTEE RECOMMENDATION

                                                                                     This account provides funding for the operation of the Federal
                                                                                  Public Defender and Community Defender organizations and for
                                                                                  compensation and reimbursement of expenses of panel attorneys
                                                                                  appointed pursuant to the Criminal Justice Act for representation
                                                                                  in criminal cases. The Committee recommends an appropriation of
                                                                                  $1,050,000,000 for fiscal year 2012 which is $24,307,000 more than
                                                                                  fiscal year 2011 and $48,745,000 less than the request. The rec-
                                                                                  ommendation does not provide an increase in the hourly panel at-
                                                                                  torney pay rate.
                                                                                     The sixth amendment to the Constitution provides for the right
                                                                                  to counsel for those who can not afford it. This is a very important
                                                                                  Constitutional protection. The Committee understands that the
                                                                                  costs associated with this program are driven by: (1) the hourly
                                                                                  rate paid to panel attorneys, which has grown substantially in the
                                                                                  years prior to fiscal year 2011; (2) the costs of operating Federal
                                                                                  defender organizations; and (3) the number of defendants and case
                                                                                  complexity. The appropriation for this account has grown from
                                                                                  $709,830,000 in fiscal year 2006 to a request of $1,098,745,000 in
                                                                                  fiscal year 2012, more than a 50 percent increase. While the Com-
                                                                                  mittee believes that attorneys must be adequately compensated
                                                                                  and defendants must be competently represented, the rapid rate of
                                                                                  increase to this program cannot continue indefinitely. The Judici-
                                                                                  ary has had some success in recent years implementing cost control
                                                                                  measures in other Judiciary programs. The Judicial Conference
                                                                                  must find ways to substantially reduce the level of resources pro-
                                                                                  posed in future years for the Defender Services program. The Com-
                                                                                  mittee expects the fiscal year 2013 budget request to identify sig-
                                                                                  nificant savings in this program.
                                                                                                            FEES OF JURORS AND COMMISSIONERS

                                                                                  Appropriation, fiscal year 2011 .........................................................       $52,305,000
                                                                                  Budget request, fiscal year 2012 .......................................................         59,727,000
                                                                                  Recommended in the bill ...................................................................      57,305,000
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                                                                                  Bill compared with:
                                                                                       Appropriation, fiscal year 2011 ..................................................          +5,000,000
                                                                                       Budget request, fiscal year 2012 ................................................           ¥2,422,000




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                                                                                                                  COMMITTEE RECOMMENDATION

                                                                                    The Committee recommends an appropriation of $57,305,000 for
                                                                                  payments to jurors, which is $5,000,000 more than fiscal year 2011
                                                                                  and $2,422,000 less than the request.
                                                                                                                              COURT SECURITY

                                                                                                               (INCLUDING TRANSFERS OF FUNDS)

                                                                                  Appropriation, fiscal year 2011 .........................................................     $466,672,000
                                                                                  Budget request, fiscal year 2012 .......................................................       513,058,000
                                                                                  Recommended in the bill ...................................................................    500,000,000
                                                                                  Bill compared with:
                                                                                       Appropriation, fiscal year 2011 ..................................................       +33,328,000
                                                                                       Budget request, fiscal year 2012 ................................................        ¥13,058,000

                                                                                                                  COMMITTEE RECOMMENDATION

                                                                                     The Committee recommends an appropriation of $500,000,000 for
                                                                                  Court Security in fiscal year 2012 to provide for necessary expenses
                                                                                  of security and protective services in courtrooms and adjacent
                                                                                  areas. This is $33,328,000 more than fiscal year 2011 and
                                                                                  $13,058,000 less than the request.
                                                                                     The recommended increase over fiscal year 2011 will provide for
                                                                                  additional court security officers and equipment to address the
                                                                                  highest priority security needs identified by the courts and the U.S.
                                                                                  Marshals Service.
                                                                                     The Committee is aware of significant security deficiencies that
                                                                                  exist in many older courthouses which in the past have only been
                                                                                  corrected by constructing a new facility. Given the current fiscal
                                                                                  climate, the cost of constructing new facilities to address these se-
                                                                                  curity concerns is in many cases too expensive. As a more cost ef-
                                                                                  fective way to address these security concerns, the Committee has
                                                                                  included $20,000,000 in the General Services Administration’s Fed-
                                                                                  eral Buildings Fund specifically for security alterations to court-
                                                                                  houses. The Committee directs the Judiciary to work collabo-
                                                                                  ratively with the General Services Administration and the U.S.
                                                                                  Marshals Service to identify and fund cost effective security solu-
                                                                                  tions to ensure the safety of court staff and the public.
                                                                                           ADMINISTRATIVE OFFICE                      OF THE       UNITED STATES COURTS
                                                                                                                       SALARIES AND EXPENSES

                                                                                  Appropriation, fiscal year 2011 .........................................................      $82,909,000
                                                                                  Budget request, fiscal year 2012 .......................................................        88,455,000
                                                                                  Recommended in the bill ...................................................................     80,007,000
                                                                                  Bill compared with:
                                                                                       Appropriation, fiscal year 2011 ..................................................        ¥2,902,000
                                                                                       Budget request, fiscal year 2012 ................................................         ¥8,448,000

                                                                                                                  COMMITTEE RECOMMENDATION

                                                                                    The Administrative Office of the United States Courts (AO) pro-
                                                                                  vides administrative and management support to the United States
                                                                                  Courts, including the probation and bankruptcy systems. It also
                                                                                  supports the Judicial Conference of the United States in deter-
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                                                                                  mining Federal Judiciary policies, in developing methods to assist
                                                                                  the courts to conduct business efficiently and economically, and in
                                                                                  enhancing the use of information technology in the courts. The




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                                                                                  Committee recommends an appropriation of $80,007,000 for the
                                                                                  AO, which is $2,902,000 less than fiscal year 2011 and $8,448,000
                                                                                  less than the request.
                                                                                                                     FEDERAL JUDICIAL CENTER
                                                                                                                       SALARIES AND EXPENSES

                                                                                  Appropriation, fiscal year 2011 .........................................................      $27,273,000
                                                                                  Budget request, fiscal year 2012 .......................................................        29,029,000
                                                                                  Recommended in the bill ...................................................................     26,318,000
                                                                                  Bill compared with:
                                                                                       Appropriation, fiscal year 2011 ..................................................         ¥955,000
                                                                                       Budget request, fiscal year 2012 ................................................         ¥2,711,000

                                                                                                                  COMMITTEE RECOMMENDATION

                                                                                     The Federal Judicial Center (FJC) improves the management of
                                                                                  Federal Judicial dockets and court administration through edu-
                                                                                  cation for judges and staff, and research, evaluation, and planning
                                                                                  assistance for the courts and the Judicial Conference. The Com-
                                                                                  mittee recommends an appropriation of $26,318,000 for the FJC for
                                                                                  fiscal year 2012, which is $955,000 less than fiscal year 2011 and
                                                                                  $2,711,000 less than the request.
                                                                                                        UNITED STATES SENTENCING COMMISSION
                                                                                                                       SALARIES AND EXPENSES

                                                                                  Appropriation, fiscal year 2011 .........................................................      $16,803,000
                                                                                  Budget request, fiscal year 2012 .......................................................        17,906,000
                                                                                  Recommended in the bill ...................................................................     16,215,000
                                                                                  Bill compared with:
                                                                                       Appropriation, fiscal year 2011 ..................................................         ¥588,000
                                                                                       Budget request, fiscal year 2012 ................................................         ¥1,691,000

                                                                                                                  COMMITTEE RECOMMENDATION

                                                                                    The purpose of the Commission is to establish, review, and revise
                                                                                  sentencing guidelines, policies, and practices for the Federal crimi-
                                                                                  nal justice system. The Commission is also required to monitor the
                                                                                  operation of the guidelines and to identify and report necessary
                                                                                  changes to the Congress. The Committee recommends $16,215,000
                                                                                  for the Commission for fiscal year 2012, which is $588,000 less
                                                                                  than fiscal year 2011 and $1,691,000 less than the request.
                                                                                                     ADMINISTRATIVE PROVISIONS—THE JUDICIARY
                                                                                                   (INCLUDING TRANSFER OF FUNDS AND RESCISSION)

                                                                                     Section 301. The Committee continues language to permit funds
                                                                                  for salaries and expenses to be available for employment of experts
                                                                                  and consultant services as authorized by 5 U.S.C. 3109.
                                                                                     Section 302. The Committee continues language that permits up
                                                                                  to five percent of any appropriation made available for fiscal year
                                                                                  2012 to be transferred between Judiciary appropriations accounts
                                                                                  provided that no appropriation shall be decreased by more than
                                                                                  five percent or increased by more than ten percent by any such
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                                                                                  transfer except in certain circumstances. In addition, the language
                                                                                  provides that any such transfer shall be treated as a reprogram-
                                                                                  ming of funds under sections 604 and 608 of the accompanying bill




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                                                                                  and shall not be available for obligation or expenditure except in
                                                                                  compliance with the procedures set forth in those sections.
                                                                                     Section 303. The Committee continues language authorizing not
                                                                                  to exceed $11,000 to be used for official reception and representa-
                                                                                  tion expenses incurred by the Judicial Conference of the United
                                                                                  States.
                                                                                     Section 304. The Committee continues language enabling the Ju-
                                                                                  diciary to contract for repairs under $100,000.
                                                                                     Section 305. The Committee continues language to authorize a
                                                                                  court security pilot program.
                                                                                     Section 306. The Committee continues language extending a tem-
                                                                                  porary judgeship in Kansas.
                                                                                     Section 307. The Committee includes language rescinding
                                                                                  $100,000 of prior year unobligated balances from the United States
                                                                                  Sentencing Commission.
                                                                                     Section 308. The Committee includes new language requiring the
                                                                                  President submit to Congress, without change, proposed supple-
                                                                                  mental appropriations submitted to the President by the legislative
                                                                                  branch and the judicial branch.
                                                                                                          TITLE IV—DISTRICT OF COLUMBIA
                                                                                                                              FEDERAL FUNDS
                                                                                                 FEDERAL PAYMENT FOR RESIDENT TUITION SUPPORT

                                                                                  Appropriation, fiscal year 2011 .........................................................      $35,030,000
                                                                                  Budget request, fiscal year 2012 .......................................................        35,100,000
                                                                                  Recommended in the bill ...................................................................     30,000,000
                                                                                  Bill compared with:
                                                                                       Appropriation, fiscal year 2011 ..................................................        ¥5,030,000
                                                                                       Budget request, fiscal year 2012 ................................................         ¥5,100,000
                                                                                     The Resident Tuition Support program was created by the Dis-
                                                                                  trict of Columbia College Access Act of 1999 to provide District col-
                                                                                  lege-bound students the opportunity to expand their higher edu-
                                                                                  cation choices. The program receives its funding through a Federal
                                                                                  appropriation which is deposited into a dedicated account under
                                                                                  the control of the District of Columbia Chief Financial Officer. This
                                                                                  program awards grants up to $10,000 annually for undergraduate
                                                                                  District students to attend eligible four-year public universities and
                                                                                  colleges nationwide at in-state tuition rates. Grants up to $2,500
                                                                                  per year are available for students to attend private institutions in
                                                                                  the D.C. metropolitan area as well as public two-year community
                                                                                  colleges.
                                                                                                                  COMMITTEE RECOMMENDATION

                                                                                    The Committee recommends a Federal payment of $30,000,000
                                                                                  for the resident tuition support program, which is $5,030,000 less
                                                                                  than fiscal year 2011 and $5,100,000 less than the request. The
                                                                                  funding recommendation, along with unobligated prior year bal-
                                                                                  ances, is sufficient to fully fund the program’s proposed expendi-
                                                                                  ture plan.
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           National Veterans Legal Services Program, et al., v. U.S.,
                        Civil Action No. 16-745 ESH


                               Tab 40
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                                                             Calendar No. 171
       112TH CONGRESS                                                               REPORT
                      "                       SENATE                         !
          1st Session                                                               112–79




            FINANCIAL SERVICES AND GENERAL GOVERNMENT
                      APPROPRIATIONS BILL, 2012



                           SEPTEMBER 15, 2011.—Ordered to be printed



                 Mr. DURBIN, from the Committee on Appropriations,
                               submitted the following


                                          REPORT
                                       [To accompany S. 1573]

         The Committee on Appropriations reports the bill (S. 1573) mak-
       ing appropriations for financial services and general government
       for the fiscal year ending September 30, 2012, and for other pur-
       poses, reports favorably thereon and recommends that the bill do
       pass.
       Amounts of new budget (obligational) authority for                    fiscal year 2012
       Total of bill as reported to the Senate ....................          $44,640,384,000
       Amount of 2011 appropriations ...............................           44,688,058,000
       Amount of 2012 budget estimate ............................             48,726,741,000
       Bill as recommended to Senate compared to—
            2011 appropriations ..........................................         ¥47,674,000
            2012 budget estimate ........................................        ¥4,086,357,000




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                                                           TITLE III
                                                    THE JUDICIARY
                                                PROGRAM DESCRIPTION

          Established under Article III of the Constitution, the judicial
       branch of Government is a separate but equal branch. The Federal
       judiciary consists of the Supreme Court, United States Courts of
       Appeals, District Courts, Bankruptcy Courts, Court of Inter-
       national Trade, Court of Federal Claims, and several other entities
       and programs. The organization of the judiciary, the district and
       circuit boundaries, the places of holding court, and the number of
       Federal judges are legislated by the Congress and signed into law
       by the President.
          The Committee’s recommended funding levels support the Fed-
       eral judiciary’s role of providing equal justice under the law and in-
       clude sufficient funds to support this critical mission. The rec-
       ommended funding level includes the salaries of judges and sup-
       port staff and the operation and security of our Nation’s courts.
          The judicial branch is subject to the same funding constraints
       facing the executive and legislative branches. It is imperative that
       the Federal judiciary devote its resources primarily to the retention
       of staff. Further, it is also important that the judiciary contain con-
       trollable costs such as travel, construction, and other expenses.
                               SUPREME COURT                   OF THE       UNITED STATES
                                              SALARIES AND EXPENSES

       Appropriations, 2011 .............................................................................   $73,921,000
       Budget estimate, 2012 ...........................................................................     75,551,000
       Committee recommendation .................................................................            74,819,000

                                                PROGRAM DESCRIPTION

         The United States Supreme Court consists of nine justices ap-
       pointed under Article III of the Constitution of the United States,
       one of whom is appointed as Chief Justice of the United States.
       The Supreme Court acts as the final arbiter in the Federal court
       system.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $74,819,000 for
       the Justices, their supporting personnel, and the costs of operating
       the Supreme Court, excluding the care of the building and grounds.
       The recommendation is $898,000 above the fiscal year 2011 fund-
       ing level and consistent with the budget re-estimate. As requested,
       funding is provided for 12 new police officers.
                                                                 (45)
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                                  CARE OF THE BUILDING AND GROUNDS

       Appropriations, 2011 .............................................................................    $8,159,000
       Budget estimate, 2012 ...........................................................................      8,504,000
       Committee recommendation .................................................................             8,159,000

                                                PROGRAM DESCRIPTION

         Care of the Building and Grounds, for expenditure by the Archi-
       tect of the Capitol, provides for the structural and mechanical care
       of the United States Supreme Court Building and Grounds, includ-
       ing maintenance and operation of mechanical, electrical, and elec-
       tronic equipment.
                                         COMMITTEE RECOMMENDATION

          The Committee recommends an appropriation of $8,159,000 for
       personnel and other services related to the Supreme Court building
       and grounds, which is supervised by the Architect of the Capitol.
       The recommendation is the same as the fiscal year 2011 funding
       level and $345,000 below the budget request.
          The Court shall continue to provide to the Committee detailed
       single-spaced quarterly reports on the Supreme Court moderniza-
       tion project, including descriptions; timeliness; milestones; and
       funding committed, obligated, and expended, as well as any unobli-
       gated balances of each major capital project. In addition, the report
       should include the identification, descriptions, and status of any
       contract claims.
            UNITED STATES COURT                       OF    APPEALS         FOR THE         FEDERAL CIRCUIT
                                              SALARIES AND EXPENSES

       Appropriations, 2011 .............................................................................   $32,511,000
       Budget estimate, 2012 ...........................................................................     35,139,000
       Committee recommendation .................................................................            31,913,000

                                                PROGRAM DESCRIPTION

          The United States Court of Appeals for the Federal Circuit was
       established on October 1, 1982 under Article III of the Constitu-
       tion. The court was formed by the merger of the United States
       Court of Customs and Patent Appeals and the appellate division of
       the United States Court of Claims. The court consists of 12 judges
       who are appointed by the President, with the advice and consent
       of the Senate. Judges are appointed to the court under Article III
       of the Constitution of the United States.
          The Federal Circuit has nationwide jurisdiction in a variety of
       subjects, including international trade, Government contracts, pat-
       ents, certain claims for money from the United States Government,
       Federal personnel, and veterans’ benefits. Appeals to the court
       come from all Federal district courts, the United States Court of
       Federal Claims, the United States Court of International Trade,
       and the United States Court of Veterans Appeals. The court also
       takes appeals of certain administrative agencies’ decisions, includ-
       ing the Merit Systems Protection Board, the Board of Contract Ap-
       peals, the Board of Patent Appeals and Interferences, and the
       Trademark Trial and Appeals Board. Decisions of the United
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       States International Trade Commission, the Office of Compliance of
       the United States Congress, and the Government Accountability
       Office Personnel Appeals Board are also reviewable by the court.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $31,913,000.
       The recommendation is $598,000 below the fiscal year 2011 fund-
       ing level, and $3,226,000 below the budget request.
                       UNITED STATES COURT                        OF INTERNATIONAL                   TRADE
                                              SALARIES AND EXPENSES

       Appropriations, 2011 .............................................................................     $21,447,000
       Budget estimate, 2012 ...........................................................................       22,891,000
       Committee recommendation .................................................................              20,968,000

                                                PROGRAM DESCRIPTION

         The United States Court of International Trade, located in New
       York City, consists of nine Article III judges. The court has exclu-
       sive nationwide jurisdiction over civil actions brought against the
       United States, its agencies and officers, and certain civil actions
       brought by the United States, arising out of import transactions
       and the administration and enforcement of the Federal customs
       and international trade laws.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $20,968,000.
       The recommendation is $479,000 below the fiscal year 2011 fund-
       ing level and $1,923,000 below the budget request.
             COURTS         OF    APPEALS, DISTRICT COURTS,                          AND     OTHER JUDICIAL
                                               SERVICES
                                              SALARIES AND EXPENSES

                                       (INCLUDING TRANSFER OF FUNDS)

       Appropriations, 2011 .............................................................................   $5,004,221,000
       Budget estimate, 2012 ...........................................................................     5,236,166,000
       Committee recommendation .................................................................            4,970,646,000

                                                PROGRAM DESCRIPTION

         Salaries and Expenses is one of four accounts that provide total
       funding for the Courts of Appeals, District Courts, and Other Judi-
       cial Services. In addition to funding the salaries of judges and sup-
       port staff, this account also funds the operating costs of appellate,
       district, and bankruptcy courts, the Court of Federal Claims, and
       probation and pretrial services offices.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $4,970,646,000
       for salaries and expenses. The recommendation is $33,575,000
       below the fiscal year 2011 funding level and $265,520,000 below
       the budget request.
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          The Committee is aware that the Judicial Conference has com-
       municated to judges and court staff the need to identify ways to re-
       duce operational and administrative costs, given the current fiscal
       climate. The Committee endorses these efforts and urges all courts
       to review all options in order to help contain costs. The Committee
       applauds the Court of International Trade, which historically has
       managed its budget well as evidenced by its minimal funding re-
       quests year after year. On the other hand, the budget for Defender
       Services, currently funded at more than $1,000,000,000, has grown
       significantly in recent years. While the services provided by this
       program are essential, this trend is not sustainable, given fiscal re-
       alities.
          Perimeter Security Pilot Project.—The Judiciary submitted its re-
       port evaluating the Judicial Perimeter Security Pilot Program on
       October 20, 2010, and a follow-up report on execution of the Judi-
       cial Perimeter Security Pilot Program on August 8, 2011. The eval-
       uation report concluded that having unity of command, CSO
       guards at all posts, and national standards for security coverage re-
       sulted in significant security improvements at the pilot sites. The
       follow-up report described how a Judicial Perimeter Security Pro-
       gram could be implemented at additional primary courthouses.
       While a meritorious program, given budget constraints, further im-
       plementation would be feasible only if cost neutral. The Judiciary
       is encouraged to identify such opportunities. Section 306 author-
       izing the pilot is continued in order to allow the Judiciary to main-
       tain the pilot at the seven existing locations and to allow for expan-
       sion of the pilot to new locations, if it can be done in a cost neutral
       manner.
          Capital Security Program.—Recognizing the impact of the Judi-
       ciary’s rental expenses on its ability to maintain support of critical
       court requirements, the Committee supports the work of the Judici-
       ary in revising its long-range planning process for facility needs.
       Budgetary realities, as well as new space design criteria for court-
       room sharing, will result in fewer new courthouses recommended
       by the Judicial Conference for funding in the future.
          Security deficiencies in existing courthouses still must be ad-
       dressed and can be accomplished in most instances with consider-
       ably less funding than would be required for a new facility. There-
       fore, funding is included within the General Services Administra-
       tion’s Federal Buildings Fund to establish a Judiciary Capital Se-
       curity Program, which will address security deficiencies in existing
       buildings where physical, interior alterations are viable. The Judi-
       ciary and the GSA shall work collaboratively to assess the building
       conditions, viability of long-term use, and structural capacity for
       these stand-alone architectural solutions which may include: build-
       ing additional corridors; adding or reconfiguring elevators; building
       visual barriers; moving air-intakes; and enlarging security screen-
       ing areas.
                            VACCINE INJURY COMPENSATION TRUST FUND

       Appropriations, 2011 .............................................................................   $4,775,000
       Budget estimate, 2012 ...........................................................................     5,011,000
       Committee recommendation .................................................................            4,775,000
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                                                PROGRAM DESCRIPTION

         Enacted by the National Childhood Vaccine Injury Act of 1986
       (Public Law 99–660), the Vaccine Injury Compensation Program is
       a Federal no-fault program designed to resolve a perceived crisis in
       vaccine tort liability claims that threatened the continued avail-
       ability of childhood vaccines nationwide. The statute’s primary in-
       tention is the creation of a more efficient adjudicatory mechanism
       that ensures a no-fault compensation result for those allegedly in-
       jured or killed by certain covered vaccines. This program protects
       the availability of vaccines in the United States by diverting a sub-
       stantial number of claims from the tort arena.
         Not only did this act create a special fund to pay judgments
       awarded under the act, but it also created the Office of Special
       Masters within the United States Court of Federal Claims to hear
       vaccine injury cases. The act stipulates that up to eight special
       masters may be appointed for this purpose. The special masters ex-
       penditures are reimbursed to the judiciary for vaccine injury cases
       from a special fund set up under the Vaccine Act.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $4,775,000. The
       recommendation is the same as the fiscal year 2011 funding level
       and $236,000 below the budget request.
                                                  DEFENDER SERVICES

       Appropriations, 2011 .............................................................................   $1,025,693,000
       Budget estimate, 2012 ...........................................................................     1,098,745,000
       Committee recommendation .................................................................            1,034,182,000

                                                PROGRAM DESCRIPTION

          The Defender Services program ensures the right to counsel
       guaranteed by the Sixth Amendment, the Criminal Justice Act (18
       U.S.C. 3006A(e)) and other congressional mandates for those who
       cannot afford to retain counsel and other necessary defense serv-
       ices. The Criminal Justice Act provides that courts appoint counsel
       from Federal public and community defender organizations or from
       a panel of private attorneys established by the court. The Defender
       Services program helps to maintain public confidence in the Na-
       tion’s commitment to equal justice under the law and ensures the
       successful operation of the constitutionally based adversary system
       of justice by which Federal criminal laws and federally guaranteed
       rights are enforced.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $1,034,182,000.
       The recommendation is $8,489,000 above the fiscal year 2011 fund-
       ing level and $64,563,000 below the budget request. This program
       is urged to scrutinize its costs and reduce expenses in the future.
                                   FEES OF JURORS AND COMMISSIONERS

       Appropriations, 2011 .............................................................................     $52,305,000
       Budget estimate, 2012 ...........................................................................       59,727,000
       Committee recommendation .................................................................              59,000,000
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                                                PROGRAM DESCRIPTION

         This account provides for the statutory fees and allowances of
       grand and petit jurors and for the compensation of jury and land
       commissioners. Budgetary requirements depend primarily upon the
       volume and the length of jury trials demanded by parties to both
       civil and criminal actions and the number of grand juries being
       convened by the courts at the request of the United States Attor-
       neys.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $59,000,000.
       The recommendation is $6,695,000 above the fiscal year 2011 fund-
       ing level and $727,000 below the budget request.
                                                     COURT SECURITY

                                      (INCLUDING TRANSFERS OF FUNDS)

       Appropriations, 2011 .............................................................................   $466,672,000
       Budget estimate, 2012 ...........................................................................     513,058,000
       Committee recommendation .................................................................            500,000,000
                                                PROGRAM DESCRIPTION

          The Court Security appropriation was established in 1983 and
       funds the necessary expenses incident to the provision of protective
       guard services, and the procurement, installation, and maintenance
       of security systems and equipment for United States courthouses
       and other facilities housing Federal court operations, including
       building access control, inspection of mail and packages, directed
       security patrols, perimeter security provided by the Federal Protec-
       tive Service, and other similar activities as authorized by section
       1010 of the Judicial Improvement and Access to Justice Act (Public
       Law 100–702).
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $500,000,000.
       The recommendation is $33,328,000 above the fiscal year 2011
       funding level and $13,058,000 below the budget request.
                 ADMINISTRATIVE OFFICE                        OF THE        UNITED STATES COURTS
                                              SALARIES AND EXPENSES

       Appropriations, 2011 .............................................................................    $82,909,000
       Budget estimate, 2012 ...........................................................................      88,455,000
       Committee recommendation .................................................................             82,000,000
                                                PROGRAM DESCRIPTION

          The Administrative Office [AO] of the United States Courts was
       created in 1939 by an act of Congress. It serves the Federal judici-
       ary in carrying out its constitutional mission to provide equal jus-
       tice under the law. Beyond providing numerous services to the Fed-
       eral courts, the AO provides support and staff counsel to the Judi-
       cial Conference of the United States and its committees, and imple-
       ments Judicial Conference policies as well as applicable Federal
       statutes and regulations. The AO is the focal point for communica-
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       tion and coordination within the Federal judiciary and with Con-
       gress, the executive branch, and the public on behalf of the judici-
       ary.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $82,000,000.
       This recommendation is $909,000 below the fiscal year 2011 fund-
       ing level and $6,455,000 below the budget request.
                                            FEDERAL JUDICIAL CENTER
                                              SALARIES AND EXPENSES

       Appropriations, 2011 .............................................................................   $27,273,000
       Budget estimate, 2012 ...........................................................................     29,029,000
       Committee recommendation .................................................................            27,000,000

                                                PROGRAM DESCRIPTION

          The Federal Judicial Center, located in Washington, DC, im-
       proves the management of Federal judicial dockets and court ad-
       ministration through education for judges and staff, and research,
       evaluation, and planning assistance for the courts and the Judicial
       Conference. The Center’s responsibilities include educating judges
       and other judicial branch personnel about legal developments and
       efficient litigation management and court administration. Addition-
       ally, the Center also analyzes the efficacy of case and court man-
       agement procedures and ensures the Federal judiciary is aware of
       the methods of best practice.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $27,000,000.
       The recommendation is $273,000 below the fiscal year 2011 fund-
       ing level and $2,029,000 below the budget request.
                                         JUDICIAL RETIREMENT FUNDS
                                   PAYMENT TO JUDICIARY TRUST FUNDS

       Appropriations, 2011 .............................................................................   $90,361,000
       Budget estimate, 2012 ...........................................................................    103,768,000
       Committee recommendation .................................................................           103,768,000

                                                PROGRAM DESCRIPTION

         The funds in this account cover the estimated future benefit pay-
       ments to be made to retired bankruptcy judges and magistrate
       judges, claims court judges, and spouses and dependent children of
       deceased judicial officers.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $103,768,000 for
       payments to the Judicial Officers’ Retirement Fund and the Claims
       Court Judges Retirement Fund. The recommendation is
       $13,407,000 above the fiscal year 2011 funding level and consistent
       with the budget request.
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                              UNITED STATES SENTENCING COMMISSION
                                              SALARIES AND EXPENSES

       Appropriations, 2011 .............................................................................   $16,803,000
       Budget estimate, 2012 ...........................................................................     17,906,000
       Committee recommendation .................................................................            16,500,000

                                                PROGRAM DESCRIPTION

         The United States Sentencing Commission establishes, reviews,
       and revises sentencing guidelines, policies, and practices for the
       Federal criminal justice system. The Commission is also required
       to monitor the operation of the guidelines and to identify and re-
       port necessary changes to the Congress.
                                         COMMITTEE RECOMMENDATION

         The Committee recommends an appropriation of $16,500,000.
       The recommendation is $303,000 below the fiscal year 2011 fund-
       ing level and $1,406,000 below the budget request.
                           ADMINISTRATIVE PROVISIONS—THE JUDICIARY
          The Committee recommends the following administrative provi-
       sions for the judiciary.
          Section 301 allows the judiciary to expend funds for the employ-
       ment of experts and consultative services.
          Section 302 allows the judiciary, subject to the Committee’s re-
       programming procedures, to transfer up to 5 percent between ap-
       propriations, but limits to 10 percent the amount that may be
       transferred into any one appropriation.
          Section 303 limits official reception and representation expenses
       incurred by the Judicial Conference of the United States to no
       more than $11,000.
          Section 304 requires the Administrative Office to submit an an-
       nual financial plan for the judiciary within 90 days of enactment
       of this act.
          Section 305 grants the judicial branch the same tenant alteration
       authorities as the executive branch.
          Section 306 provides continued authority for a court security
       pilot program.
          Section 307 extends for 1 year the authorization of a temporary
       judgeship in Hawaii and a temporary judgeship in Kansas.
